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                                        No. 25-1477


                   IN THE UNITED STATES COURT OF APPEALS
                           FOR THE FIRST CIRCUIT


                            STATE OF RHODE ISLAND, et al.,

                                                    Plaintiffs-Appellants,

                                              v.

                      DONALD J. TRUMP, in his official capacity, et al.,

                                                    Defendants-Appellees.


                       On Appeal from the United States District Court
                             for the District of Rhode Island


                    MOTION FOR STAY PENDING APPEAL AND
                         AN ADMINISTRATIVE STAY


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                                         INTRODUCTION

             In what has become a troubling pattern, the district court entered a sweeping

      preliminary injunction interfering with internal Executive Branch operations, and did

      so based on the same legal errors underlying several similar injunctions recently stayed

      by higher courts. See, e.g., Department of Education v. California, 145 S. Ct. 966 (2025);

      Order, National Treasury Employees Union v. Vought, No. 25-5091 (D.C. Cir. Apr. 11,

      2025). Like the orders the Supreme Court and the D.C. Circuit previously stayed, the

      district court’s order here unlawfully prevents agencies from implementing the

      President’s instructions to reorganize and streamline their operations in keeping with

      the administration’s policy initiative to reform the federal bureaucracy.

             The district court’s order suffers from numerous defects, all of which arise

      from a fundamental misunderstanding of the proper scope of judicial review under

      the Administrative Procedure Act. The APA affords review of discrete agency actions

      or inactions that allegedly cause the plaintiff harm. It does not permit wholesale

      review of the way an agency carries out its statutory duties, based on a concern that

      the agency’s operational choices may adversely affect the agency’s future work. Yet

      that is precisely the sort of impermissible “programmatic” review the district court

      undertook here. Lujan v. National Wildlife Federation, 497 U.S. 871, 891 (1990).

             The district court’s erroneous conclusion that it had the authority to review the

      operations of the relevant agencies writ large and to, in effect, take judicial control of

      the way they carry out their work produced a preliminary injunction order rife with
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      legal errors. It led the district court to award broad relief far beyond what plaintiffs

      have standing to pursue. It also led the court to award specific forms of relief,

      including the reinstatement of employees and grant contracts, that the court had no

      jurisdiction to provide because Congress has channeled such claims to other forums.

      See, e.g., Department of Education, 145 S. Ct. at 968 (emphasizing that the APA’s waiver

      of sovereign immunity does not extend to orders enforcing a contractual obligation to

      pay money). And it produced a decision at odds with basic principles of APA review,

      including the requirement that parties challenge “final” agency action that aggrieves

      the plaintiffs here-and-now, not a loose amalgamation of agency activities that may

      someday impact the agencies’ ability to perform their statutory functions. Any one of

      these numerous errors provides reason to vacate the injunction.

             The remaining stay factors also favor the government. The order strips the

      agencies of their authority to manage their workforces and to make operational

      decisions to align the agencies with their new leadership in a new Presidential

      Administration. It also forces the agencies to disburse funds that may never be

      recovered and undertake the burdensome obligation of reinstating personnel the

      agencies no longer believe are needed to meet their statutory obligations. The harms

      to the government and the public interest favor a stay of the order’s palpable

      infringement on internal Executive Branch operations.

             Accordingly, the government respectfully requests that this Court stay the

      district court’s preliminary injunction pending the government’s appeal. And given
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      the order’s disruptive consequences, the government also respectfully requests that

      the Court grant an immediate administrative stay of the district court’s injunction

      while it considers the government’s stay motion. Plaintiffs oppose this motion.

                                         STATEMENT

            1. Three federal agencies are at issue in this case. The Institute for Museum

      and Library Services (IMLS) is charged with “ensuring the availability of museum,

      library, and information services adequate to meet the essential information,

      education, research, economic, cultural, and civic needs of the people of the United

      States.” 20 U.S.C. § 9103(c)(1). To that end, IMLS awards grants, conducts research,

      and offers policy programming. See id. §§ 9108(a), 9141, 9165, 9173. The Minority

      Business Development Agency (MBDA) promotes the growth of minority-owned

      business through similar grantmaking and research functions. See, e.g., 15 U.S.C.

      §§ 9511-26, 9541-43, 9552-53, 9561. And the Federal Conciliation and Mediation

      Service (FCMS) helps “parties to labor disputes in industries affecting commerce …

      to settle such disputes through conciliation and mediation.” 29 U.S.C. § 173(a).

            On March 14, 2025, the President issued Executive Order 14,238, which

      directed that the “non-statutory components and functions” of the aforementioned

      three agencies be eliminated and that the agencies’ “performance of their statutory

      functions and associated personnel” be reduced to “the minimum presence and

      function required by law.” Exec. Order No. 14,238, 90 Fed. Reg. 13043 (Mar. 14,

      2025). The three agencies then began implementing the Executive Order, including
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      by placing staff on administrative leave in anticipation of a reduction-in-force and

      terminating a number of grant agreements.

            2. On April 4, 2025, plaintiffs—who are twenty-one States—filed this suit.

      Their complaint centers on alleged “Closure Decisions” at each of the three

      agencies—that is, in plaintiffs’ telling, “a final decision … to implement the

      [Executive] Order and to gut [the agencies’] operations.” Compl. ¶ 54. Plaintiffs

      allege that, in implementing the Executive Order, the agencies violated the APA, their

      statutory obligations, and the Constitution. The same day plaintiffs filed their suit,

      they moved for a temporary restraining order, which the parties agreed to treat as a

      motion for a preliminary injunction. Dkt. 31.

            The district court granted plaintiffs’ motion for a preliminary injunction. Dkt.

      57. The court concluded that plaintiffs had standing to challenge the agencies’

      implementation of the Executive Order and reasoned that, notwithstanding plaintiffs’

      inchoate moniker of “Closure Decisions,” that label referred to final agency action

      reviewable under the APA. PI Op. 21-26. The court also held that inasmuch as the

      “Closure Decisions” carried the consequences of terminations of grants and

      personnel, the Tucker Act and the CSRA did not deprive it of jurisdiction to enjoin

      those consequences under the APA. Id. 14-21. On the merits, the district court

      concluded that plaintiffs were likely to succeed in demonstrating that the

      implementation of the Executive Order was unreasoned and contrary to

      constitutional and statutory law. Id. 26-40.
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            The injunction prohibits defendants from implementing Section 2 of the

      Executive Order and requires them to “take all necessary steps to reverse any policies,

      memoranda, directives, or actions issued before this Order that were designed or

      intended, in whole or in part, to implement, give effect to, comply with, or carry out

      the directives contained” in the Order. Dkt. 60 ¶¶ 1, 2. The injunction further

      provides that defendants must “restore all [agency] employees and personal service

      contractors, who were involuntarily placed on leave or involuntarily terminated due to

      the implementation” of the Executive Order, “to their status before March 14, 2025.”

      Id. ¶ 3. And the injunction orders defendants not to “further pause, cancel, or

      otherwise terminate IMLS or MBDA grants or contracts or fail to disburse funds to

      recipients in plaintiff States according to such grants or contracts for reasons other

      than the grantees’ or contractors’ non-compliance with applicable grant or contract

      terms.” Id. ¶ 5. Furthermore, defendants must “take immediate steps to resume the

      processing, disbursement, and payment of already-awarded funding, and to release

      awarded funds previously withheld or rendered inaccessible due to or in reliance on”

      the Executive Order, “with respect to recipients in plaintiff States.” Id. ¶ 6.

            The injunction does not preclude defendants “from taking actions that would

      improve Agency efficiency or reduce the size or scope” of the agencies “as long as (a)

      the Agency Defendant provides a reasoned explanation for such action, and (b) the

      action will not prevent the Agency Defendant from fulfilling any of [its] statutory

      obligations.” Dkt. 60 ¶ 3. Moreover, the injunction does not “preclude[] the Agency
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      Defendants from making personnel decisions that are not related to or motivated by”

      the Executive Order. Id. ¶ 4.

             3. The government moved for a stay pending appeal in the district court and

      will promptly notify this Court when the district court rules on the stay motion.

                                             ARGUMENT

             A stay pending appeal is warranted. The government is likely to succeed on the

      merits and will face irreparable injury absent a stay. Moreover, the balance of the

      equities and public interest favor a stay. See Nken v. Holder, 556 U.S. 418, 426 (2009).

      I.     The Government Is Likely to Succeed on Appeal

             The district court’s injunction rests on a fundamental misunderstanding of the

      nature of APA review. Judicial review under the APA is limited to review of discrete

      agency actions or inactions that cause harm to the particular plaintiff. The APA does

      not permit sweeping, programmatic review and judicial superintendence of the

      manner in which an agency conducts its work. Nor does the APA authorize courts to

      oversee an agency’s reorganization efforts to ensure that an agency does not fall short

      of its statutory responsibilities in the future.

             Yet, in concluding that it could review the agencies’ compliance with EO

      14,238 and had the authority to take action to quell its concern that the agencies might

      not meet their statutory obligations in the future, the district court engaged in

      precisely the sort of wholesale review and superintendence of agency operations that

      the APA does not allow. And that fundamentally flawed conclusion is reflected in the
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      preliminary injunction order’s numerous defects. The sweeping order grants relief far

      beyond what plaintiffs have standing to seek. It also grants relief, including the

      restoration of grants and employees, that the court lacked jurisdiction to provide

      through the APA. And it ignores basic APA principles, including the requirement

      that plaintiffs challenge final agency action that has already occurred and is harming

      plaintiffs, not an amalgam of agency activities that might one day have consequences

      for the agencies’ work.

             A.     Plaintiffs Lack Standing

             In allowing plaintiffs to bring their broad, prospective challenge to operations

      at the three agencies, the district court’s order flouts principles of standing. Federal

      courts do not sit to “exercise general legal oversight of the Legislative and Executive

      Branches,” but to redress concrete injuries to specific interests. TransUnion LLC v.

      Ramirez, 594 U.S. 413, 423-24 (2021). “This requires, among other things, that the

      plaintiff have suffered an invasion of a legally protected interest which is … concrete

      and particularized, and that the dispute is traditionally thought to be capable of

      resolution through the judicial process[.]” Raines v. Byrd, 521 U.S. 811, 819 (1997).

             Plaintiffs’ principal contention is that the three agencies have decided to

      “dismantle their operations and cease performance of their functions” in violation of

      federal constitutional and statutory law, including the separation of powers. Dkt. 3.

      Putting aside the absence of any credible evidence that the agencies have decided to

      shutter their operations entirely—indeed, the Executive Order in question requires
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      them only to reduce their functions to the statutory minimum—plaintiffs’ asserted

      interest in vindicating the proper operation of the Executive Branch is exactly the sort

      of abstract and generalized grievance that cannot be redressed by a federal court

      under Article III.

            First, a generalized dispute over whether an agency will perform its statutory

      duties or will have sufficient resources to do so involves no “legally and judicially

      cognizable” harm. Raines, 521 U.S. at 819. Such suits have no “ground[ing] in

      historical practice” or “close relationship to a harm that has traditionally been

      regarded as providing a basis for a lawsuit in English or American courts.” Spokeo v.

      Robins, 578 U.S. 330, 341 (2016).

            Second, plaintiffs lack a particularized interest in safeguarding the separation of

      powers, because “[a]ll citizens” share “an interest in the independence of each branch

      of Government.” Schlesinger v. Reservists Comm. to Stop the War, 418 U.S. 208, 220, 226-

      27 (1974). This “generalized interest … is too abstract to constitute a ‘case or

      controversy’ appropriate for judicial resolution.” Id.

            Third, such a programmatic injury is not redressable, as it would require

      “interpos[ing] the federal courts as virtually continuing monitors of the wisdom and

      soundness of … administration, contrary to the more modest role Article III

      envisions.” DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 346 (2006).

            And even if the plaintiffs have standing to challenge particular actions the

      agency has taken in implementing the Executive Order, the district court’s preliminary
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       injunction plainly awards relief plaintiffs lack standing to pursue. It requires the

       agencies to reverse all actions the agency has taken to implement the Executive Order

       and to reinstate all agency employees and contractors to their March 14, 2025 status,

       and is not limited to those actions or employees that involve programs or grants on

       which the States allegedly rely. Plaintiffs must possess standing “for each form of

       relief that is sought.” Town of Chseter, N.Y. v. Laroe Estates, Inc., 581 U.S. 433, 439

       (2017). The sweeping relief the district court awarded, which far exceeds the harms

       alleged by plaintiffs, is reason alone to stay it.

              B.     The Agencies’ Implementation of the EO Is Not Reviewable
                     Under the APA

              The APA contemplates judicial review only of “agency action.” 5 U.S.C.

       §§ 704, 551(13). As the Supreme Court has explained, a reviewable “action” is limited

       to the set of “circumscribed, discrete agency actions” identified in the APA’s

       definition of “action.” See Norton v. Southern Utah Wilderness All. (SUWA), 542 U.S. 55,

       62 (2004); see also 5 U.S.C. § 551(13). This definition, while expansive, is “not so all-

       encompassing as to authorize [courts] to exercise judicial review [over]

       everything done by an administrative agency.” Independent Equip. Dealers Ass’n v. EPA,

       372 F.3d 420, 427 (D.C. Cir. 2004) (Roberts, J.). Importantly, the APA— reflecting

       constitutional limits on the judicial role—does not permit “general judicial review of

       [an agency’s] day-to-day operations,” National Wildlife Fed’n, 497 U.S. at 899; nor does

       it authorize agencies to oversee “the common business of managing government

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       programs,” Fund for Animals, Inc. v. U.S. Bureau of Land Mgmt., 460 F.3d 13, 20 (D.C.

       Cir. 2006). Under these principles, agency plans, strategies, and goals fall outside the

       APA’s defined list of agency actions. Id. at 20. Even if a challenged act qualifies as an

       agency action, it is not reviewable unless it is “final,” meaning that it “mark[s] the

       ‘consummation’ of the agency’s decisionmaking process,” and is an action by which

       “rights or obligations have been determined,” or from which “legal consequences will

       flow.” Bennett v. Spear, 520 U.S. 154, 177-78 (1997).

              The alleged “Closure Decisions” do not constitute such final agency action. A

       challenge to the implementation of an Executive Order—i.e., a challenge to agency

       operations—is the opposite of the discrete, circumscribed agency action that is

       required for review under the APA. See Lujan v. National Wildlife Federation, 497 U.S.

       871, 891 (1990); Nat’l Veterans Legal Servs. Program v. United States Dep’t of Def., 990 F.3d

       834, 839 (4th Cir. 2021) (explaining that final agency action does not include conduct

       like “operating a program”). The agencies’ efforts to implement the Executive Order

       involve countless operational decisions, including determining which functions are

       statutorily required, which personnel are required to fulfill those functions, and how

       best to organize its operations consistent with federal law and the Executive Order.

       “Closure Decisions” is thus “simply the name by which [plaintiffs] have . . . referred

       to the continuing (and thus constantly changing) operations of the” agencies, which

       are not reviewable agency action. Lujan, 497 U.S. at 890.


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             In this respect, this case is materially dissimilar to New York v. Trump, 133 F.4th

       51, 67 (1st Cir. 2025). There, this Court rejected the defendants’ argument that a

       challenge to the “Federal Funding Freeze” did not identify final agency action

       because, in the Court’s view, there existed a defined aggregate of discrete actions in

       the form of “freezes on obligated funds.” Id. at 67. Even taking the correctness of

       that holding as given, there is nothing uniform or categorical about a decision to

       reduce agency activities to the maximum extent permitted by law. And rather than

       tether their claims to specific terminated programs, payments, or personnel on which

       they rely, plaintiffs challenge an entire course of conduct by three federal agencies.

             By extension, the “decision” to comply with an Executive Order to reduce

       agency staffing and programming is not “final” within the meaning of the APA. The

       agencies’ ongoing implementation of the Executive Order marks the initiation, not

       the consummation, of the agency’s decision-making process. Bennett, 520 U.S. at 177-

       78. And a plan to take action—even if any subsequent action will have definite

       effects for the public—does not itself create consequences for would-be plaintiffs.

       And this makes sense because attempting to review ongoing operations is a futile task.

       Directions may be changed, and operational decisions may be reversed. See, e.g., Dkt.

       63-1 ¶ 9 (explaining that the IMLS’s Grants to States program was fully reinstated

       before court’s preliminary injunction order).

             To hold that final agency action existed, the district court diverged from the

       amorphous “Closure Decision” concept and relied predominantly on plaintiffs’
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       evidence of terminations of grants and personnel, as well as (to a significantly lesser

       extent) descriptions of terminated programming. PI Op. 23-25. But, as explained

       below, this shift does not solve the problem: to the extent those actions are relevant,

       they mean that the district court lacked jurisdiction to enter a preliminary injunction.

       See infra Parts C. and D.

              C.     The District Court Erred by Ordering the Restoration of Grant
                     Agreements

              The district court independently erred by ordering restoration of grant

       contracts. The “APA’s limited waiver of sovereign immunity does not extend to

       orders to enforce a contractual obligation to pay money.” Department of, 145 S. Ct. at

       967. Instead, the Tucker Act grants the Court of Federal Claims jurisdiction over

       suits based on contracts with the government. Id.

              The federal government is generally immune from suit absent an

       “unequivocally expressed” waiver of sovereign immunity. Harper v. Rettif, 46 F.4th 1, 6

       (1st Cir. 2022). Although the APA provides “a limited waiver of sovereign immunity

       for claims against the United States” seeking non-monetary relief, Crowley Gov’t Servs.,

       Inc. v. GSA, 38 F.4th 1099, 1105 (D.C. Cir. 2022), that waiver does not apply “if any

       other statute that grants consent to suit expressly or impliedly forbids the relief which

       is sought,” Match-E-Be-Nash-She-Wish Band of Pottawatomi Indians v. Patchak, 567 U.S.

       209, 215 (2012).



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              When a party seeks funding that it believes the government is obligated to pay

       under a contract or grant, the proper remedy is a suit under the Tucker Act, not the

       APA. The Tucker Act provides that the “United States Court of Federal Claims shall

       have jurisdiction to render judgment upon any claim against the United States

       founded” on “any express or implied contract with the United States.” 28 U.S.C.

       § 1491(a). As a result, “the Tucker Act impliedly forbids” the bringing of “contract

       actions” against “the government in a federal district court” under the APA. Albrecht

       v. Committee on Employee Benefits of the Federal Reserve Employee Benefits Sys., 357 F.3d 62,

       67-68 (D.C. Cir. 2004). The Tucker Act’s preclusive effect on APA review extends to

       claims founded on grants that are implemented through contracts. Boaz Housing Auth.

       v. United States, 994 F.3d 1359, 1368 (Fed. Cir. 2021). The proper recourse for

       asserted violations of those grant agreements is a “suit in the Claims Court for

       damages relating to [the] alleged breach.” Id.

              In determining whether “a particular action” is “at its essence a contract

       action” subject to the Tucker Act or instead a challenge properly brought under the

       APA, courts look to both “the source of the rights upon which the plaintiff bases its

       claims” and “the type of relief sought (or appropriate).” Megapulse, Inc. v. Lewis, 672

       F.2d 959, 968 (D.C. Cir. 1982); see also American Sci. & Eng’g, Inc. v. Califano, 571 F.2d

       58, 63 (1st Cir. 1978).

              Where, as here, a plaintiff seeks to enforce a contractual agreement with the

       federal government and obtain the payment of money, that inquiry is straightforward.
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       The source of the plaintiffs’ right to payment arises from the grant contract and an

       order requiring the government to pay the funds it allegedly owes under the contract

       constitutes specific performance, a quintessential contract remedy.

              Consistent with these principles, the Supreme Court recently stayed an order

       that enjoined the government from terminating education-related grants. Department

       of Educ., 145 S. Ct. at 968-69. Department of Education was, like this suit, a case brought

       under the APA. In granting a stay, the Supreme Court emphasized that “the APA’s

       limited waiver of immunity does not extend to orders ‘to enforce a contractual

       obligation to pay money’ along the lines of what the District Court ordered [t]here.”

       Id. at 968. The government was thus “likely to succeed in showing the District Court

       lacked jurisdiction to order the payment of money under the APA.” Id.

              Department of Education should have been the beginning and end of the district

       court’s analysis. But the court first dismissed the case as non-precedential,

       “considering that the Supreme Court issued the decision on its emergency docket.”

       PI Op. 15. Precedential or not, “[a] just legal system seeks not only to treat different

       cases differently but also to treat like cases alike.” Pepper v. United States, 562 U.S. 476,

       510 (2011) (Breyer, J., concurring in part). The district court then attempted to

       distinguish this case on the basis that “the States’ challenges are grounded on whether

       the Defendants’ actions exceeded the bounds of their statutory or constitutional

       authorities.” PI Op. 16. But exactly the same thing was true in Department of

       Education. See California v. Department of Educ., 132 F.4th 92, 97 (1st Cir. 2025) (“The
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       States’ claims are, at their core, assertions that the Department acted in violation of

       federal law—not its contracts.”). The same result, then, should obtain here.

             The district court also found it significant that plaintiffs are seeking equitable

       relief, not money damages. PI Op. 17. But that misses the point. Even if plaintiffs’

       requested relief can be characterized as “other than money damages,” 5 U.S.C. § 702,

       they nonetheless fail the separate requirement of showing they do not seek relief that

       another statute “impliedly forbids.” Id. As explained, the Tucker Act impliedly forbids

       a court from relying on the APA’s waiver of sovereign immunity to order the

       government to specifically perform a contract. See Albrecht, 357 F.3d at 68.

             D.     The District Court Erred by Ordering the Reinstatement of the
                    Agencies’ Employees and Contractors

             The district court also lacked jurisdiction to adjudicate the States’ challenges to

       the federal agencies’ employment decisions. Congress has “established a

       comprehensive system” that provides the “exclusive means” for administrative and

       judicial review of disputes between employees and their federal employers. Elgin v.

       Department of the Treasury, 567 U.S. 1, 5, 8 (2012). The Civil Service Reform Act,

       together with the Federal Service Labor-Management Relations Statute, “creates an

       integrated scheme of administrative and judicial review, wherein the Congress

       intentionally provided—and intentionally chose not to provide—particular forums

       and procedures for particular kinds of claims.” American Fed’n of Gov’t Emps. v. Secretary

       of the Air Force, 716 F.3d 633, 636 (D.C. Cir. 2023). Congress allowed certain

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       individual federal employees who are affected by agency personnel decisions to

       challenge those decisions “by litigating their claims through the statutory scheme in

       the context of [a] concrete” dispute. See American Fed’n of Gov’t Emps. v. Trump, 929

       F.3d 748, 757 (D.C. Cir. 2019).

             The district court concluded that those statutory limitations are irrelevant

       because the States are not entitled to administrative or judicial review under the

       CSRA. PI Op. 19. That has it backwards. The “exclusion” of States “from the

       provisions establishing administrative and judicial review for personnel action” of the

       type challenged here “prevents [them] from seeking review” under other provisions.

       United States v. Fausto, 484 U.S. 439, 455 (1988) (emphasis added).

             Supreme Court precedent makes clear that when a comprehensive scheme of

       the sort at issue here permits review at the behest of some types of plaintiffs but not

       others, it implicitly precludes review by plaintiffs who are not authorized to bring

       claims. See Block v. Community Nutrition Inst., 467 U.S. 340, 346-47 (1984) (observing

       that “[i]n a complex scheme, the omission of [a provision for litigation by consumers]

       is sufficient reason to believe that Congress intended to foreclose consumer

       participation in the regulatory process”). The same principles fully apply to the

       CSRA. See Fausto, 484 U.S. at 448.

             It is no answer to say, as the district court did, that “a finding of CSRA

       preclusion would foreclose all meaningful judicial review over the States’ claims

       because they cannot bring their claims under CSRA’s statutory scheme.” PI Op. 19.
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       If the remedial scheme Congress designed for federal personnel decisions excludes

       the States, that is a feature, not a bug. See Block, 467 U.S. at 347. What is more, the

       district court’s observation reflects not that it is necessary to evade the limits on

       review Congress established, but that the review plaintiffs should seek is at most to

       actions that directly affect them.

              E.     Plaintiffs’ APA and Constitutional Claims Fail for Additional
                     Reasons

              1. Even if the APA permitted review of plaintiffs’ claims, the district court

       fatally erred in the analytical framework it applied to them. The crux of plaintiffs’

       APA claims is that the agencies are likely to fail to perform functions they are obliged

       by statute to carry out. Such claims are thus governed by the APA’s provision

       permitting courts to “compel agency action unlawfully withheld,” 5 U.S.C. § 706(1).

       Plaintiffs cannot succeed under 5 U.S.C. § 706(1)’s mandamus-like standard, and the

       district court’s failure to apply it warrants a stay of the preliminary injunction.

              “The only agency action that can be compelled under the APA is action legally

       required.” SUWA, 542 U.S. at 63. In 5 U.S.C. § 706(1), “the APA carried forward

       the traditional practice prior to its passage, when judicial review was achieved

       through” writs like mandamus, a remedy “normally limited to enforcement of a

       specific, unequivocal command, the ordering of a precise, definite act . . . about which

       [an official] had no discretion whatever.” Id.



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              Analysis under Section 706(1) “starts from the premise that issuance of the writ

       [of mandamus] is an extraordinary remedy, reserved only for the most transparent

       violations of a clear duty to act.” In re Core Commc’ns, Inc., 531 F.3d 849, 855 (D.C. Cir.

       2008). Reflecting the traditional limitations on mandatory injunctions issued to co-

       equal branches, “[i]n the case of agency inaction” the Court “not only must satisfy

       [itself] that there indeed exists such a duty, but that the agency has ‘unreasonably

       delayed’ the contemplated action.” Bluewater, 234 F.3d at 1315 (quoting 5 U.S.C.

       § 706(1)). And even once there has been an “unreasonable delay” in fulfilling the

       required statutory duty, the court must evaluate “whether the agency’s delay is so

       egregious as to warrant mandamus.” Core Communications, Inc., 531 F.3d at 855.

              Rather than applying these well-established standards to plaintiffs’ request for

       preliminary relief, the district court treated plaintiffs’ claim as one challenging an

       agency action. See PI Op. 25-38. That was error because, insofar as plaintiffs

       challenge the agency’s expected failure to carry out statutory obligations, they are not

       challenging “agency action,” but rather agency inaction. See SUWA, 542 U.S. at 64.

       Thus, any relief would have to accord with the remedial principles that apply under

       Section 706(1). Yet the district court made no attempt to identify any “specific,

       unequivocal command” such that it could “order[] … a precise, definite act.” SUWA,

       542 U.S. at 63. It found no “transparent violations of a clear duty to act,” let alone

       one that has been withheld so long as to be “unreasonably delayed.” Bluewater, 234

       F.3d at 1315. Instead, confronting a laundry list of allegations about the agencies’
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       statutory authorities and their programmatic decisions in recent weeks, the district

       court simply reasoned that agencies must comply with appropriations statutes and

       statutory mandates. PI Op. 31-39. Furthermore, the district court certainly (and

       erroneously) declined to stay its hand despite indications that the agencies would (as

       directed by Executive Order) continue to fulfill their statutory obligations, TRAC, 750

       F.2d at 72, and did not “allow the government the opportunity to cure” any statutory

       violation it found, Cobell v. Norton, 240 F.3d 1081, 1108-09 (D.C. Cir. 2001).

              2. The district court also based its order on alleged constitutional violations—

       of the separation of powers and the Take Care Clause. But these claims, which the

       district court addressed in less than two pages, PI Op. 39-40, are little more than a

       repackaging of plaintiffs’ alleged statutory violations. Claims “simply alleging that the

       President has exceeded his statutory authority, are not ‘constitutional’ claims.” Dalton

       v. Specter, 511 U.S. 462, 473 (1994). The Constitution is implicated only if executive

       officers rely on it as “[t]he only basis of authority” or if the officers rely on an

       unconstitutional statute. Id. at 473 & n.5. Neither is true here.

       II.    The Remaining Factors Favor a Stay

              The other equitable factors also strongly favor a stay. Every day that the

       injunction is in effect causes irreparable injuries to the government and the public,

       whose interests “merge” here. Nken, 556 U.S. at 435. The three agencies in question

       have determined that the continued employment of certain employees is unnecessary

       and inconsistent with those agencies’ missions. By requiring the agencies to reinstate
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       all employees and contractors to their status before the Executive Order, the district

       court is thus requiring the Agency to employ particular personnel against its will and

       superintending its own judgment about requisite agency staffing—something it has no

       lawful basis to do.

              That the preliminary injunction order permits the agencies to take actions to

       reduce their operations provided “the action will not prevent the [agencies] from

       fulfilling any of their statutory obligations,” Dkt 60 ¶ 3, underscores the improper role

       the court has undertaken in managing the affairs of the agencies. The EO itself made

       clear that the agencies should maintain a workforce sufficient to meet their statutory

       obligations. The court’s order is thus a clear attempt to insert itself as the arbiter of

       whether the agencies’ staffing decisions are sufficient. And given how difficult it is to

       ascertain precisely how many staff are necessary to perform a given function, the

       court’s order opens the door to judicial second-guessing of every staffing decision the

       agencies make.

              With respect to the ordered restoration of grants, the preliminary injunction

       irreparably harms the public fisc. See, e.g., Dkt. 63-1 ¶ 18. As in Department of

       Education, the government “is unlikely to recover the grant funds once they are

       disbursed,” 2025 WL 1008354, at *1. These financial harms could have been

       addressed by a bond under Federal Rule of Civil Procedure 65(c), but the district

       court declined to impose one. PI Op. 47-49.


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             Plaintiffs, meanwhile, would not be irreparably harmed by a stay of the

       preliminary injunction. Regarding grant restorations, the gravamen of plaintiffs’

       injury is monetary—the classic example of reparable harm. Wisconsin Gas Co. v.

       FERC, 758 F.2d 669, 674 (D.C. Cir. 1985). And loss of government employment

       generally does not constitute irreparable injury, especially when there is a separate

       review scheme established by Congress to hear such claims. Sampson v. Murray, 415

       U.S. 61, 91-92 & n.68 (1974).




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                                          CONCLUSION

             For the foregoing reasons, the Court should grant a stay pending appeal of the

       district court’s preliminary injunction and an immediate administrative stay.

                                                       Respectfully submitted,

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       May 2025




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                             CERTIFICATE OF COMPLIANCE

             This brief complies with the type-volume limit of Federal Rule of Appellate

       Procedure 27(d)(2)(A) because it contains 5,171 words. This brief also complies with

       the typeface and type-style requirements of Federal Rules of Appellate Procedure

       27(d)(1)(E) and 32(a)(5) and (6) because it was prepared using Word for Microsoft

       365 in Garamond 14-point font, a proportionally spaced typeface.



                                                     s/ Gerard Sinzdak
                                                    Gerard Sinzdak
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                                 CERTIFICATE OF SERVICE

             I hereby certify that on May 21, 2025, I electronically filed the foregoing brief

       with the Clerk of the Court for the United States Court of Appeals for the First

       Circuit by using the appellate CM/ECF system.




                                                       s/ Gerard Sinzdak
                                                      Gerard Sinzdak
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                                        ADDENDUM
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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF RHODE ISLAND

       STATE OF RHODE ISLAND; STATE           )
       OF NEW YORK; STATE OF HAWAI‘I;         )
       STATE OF ARIZONA; STATE OF             )
       CALIFORNIA; STATE OF                   )
       COLORADO; STATE OF                     )
       CONNECTICUT; STATE OF                  )
       DELAWARE; STATE OF ILLINOIS;           )
       STATE OF MAINE; STATE OF               )
       MARYLAND; COMMONWEALTH OF              )
       MASSACHUSETTS; PEOPLE OF               )
       THE STATE OF MICHIGAN; STATE           )
       OF MINNESOTA; STATE OF                 )
       NEVADA; STATE OF NEW JERSEY;           )
                                              )
       STATE OF NEW MEXICO; STATE OF
                                              )
       OREGON; STATE OF VERMONT;
                                              )
       STATE OF WASHINGTON; STATE             )
       OF WISCONSIN,                          )
                                              )
                Plaintiffs,                   )
                                              )
                v.                            )      C.A. No. 1:25-cv-128-JJM-LDA
                                              )
       DONALD J. TRUMP, in his official       )
       capacity as President of the United    )
       States; INSTITUTE OF MUSEUM            )
       AND LIBRARY SERVICES; KEITH E. )
       SONDERLING, in his official capacity )
                                              )
       as Acting Director of the Institute of
                                              )
       Museum and Library Services;           )
       MINORITY BUSINESS AND                  )
       DEVELOPMENT AGENCY; MADIHA )
       D. LATIF, in her official capacity as  )
       Deputy Under Secretary of Commerce     )
       for Minority Business Development;     )
       HOWARD LUTNICK, in his official        )
       capacity as Secretary of Commerce;     )
       FEDERAL MEDIATION AND                  )
       CONCILIATION SERVICE;                  )
       GREGORY GOLDSTEIN, in his official )
       capacity as Acting Director of the     )
                                              )
       Federal Mediation and Conciliation
                                              )




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       Service; OFFICE OF MANAGEMENT             )
       AND BUDGET; RUSSELL T.                    )
       VOUGHT, in his official capacity as       )
       Director of the Office of Management      )
       and Budget,                               )
                                                 )
                                                 )
              Defendants.

                                  MEMORANDUM AND ORDER

       JOHN J. MCCONNELL, JR., United States District Court Chief Judge.

             Once again, this Court is confronted with a legal challenge by various states,

       against an Executive Order that attempts to dismantle congressionally sanctioned

       agencies and ignores congressionally appropriated funds. Here, the targeted federal

       agencies support our libraries, museums, minority business enterprises, and the well-

       respected federal mediation services.          This Executive Order violates the

       Administrative Procedures Act (“APA”) in the arbitrary and capricious way it was

       carried out. It also disregards the fundamental constitutional role of each of the

       branches of our federal government; specifically, it ignores the unshakable principles

       that Congress makes the law and appropriates funds, and the Executive implements

       the law Congress enacted and spends the funds Congress appropriated.

             Plaintiffs are twenty-one states (the “States”) who move for a preliminary

       injunction,1 seeking to restrain the Defendants from implementing the President’s

       Executive Order 14238, “Continuing the Reduction of the Federal Bureaucracy”

       (“Reduction EO”), as it applies to three federal agencies—the Institute of Museum



             1 The States initially moved for a temporary restraining order but, upon the

       parties’ stipulation, that motion was converted to one for a preliminary injunction.
       See ECF No. 31; see also Text Order, Apr. 10, 2025 (entering the parties’ stipulation).

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       and Library Services (“IMLS”), the Minority Business Development Agency

       (“MBDA”), and the Federal Mediation and Conciliation Service (“FMCS”). ECF No. 3.

       The States assert that the Defendants’ efforts to carry out the Reduction EO’s

       mandates violate: (1) the APA; (2) Separation of Powers principles; and (3) the Take

       Care Clause of the United States Constitution. Id. at 2. The Defendants oppose the

       motion on various jurisdictional grounds and assert that the States have not satisfied

       the elements required for entitlement to preliminary relief. ECF No. 41. For the

       reasons stated below, the Court GRANTS the States’ motion.

       I.    BACKGROUND

             The Court will first provide some exposition on the three congressionally

       created agencies at the center of this dispute—IMLS, MBDA, and FMCS—before

       outlining the travel of the case.

             A. The Agencies

                    1. IMLS

             In 1996, Congress established IMLS as an agency within the National

       Foundation on the Arts and Humanities. 20 U.S.C. § 9102. The agency’s mission is

       to “to advance, support, and empower America’s museums, libraries, and related

       organizations through grantmaking, research, and policy development.” INST. OF

       MUSEUM     AND   LIBR. SERVICES,     FY 2022-2026 STRATEGIC PLAN 3 (2022),

       https://www.imls.gov/sites/default/files/2022-02/imls-strategic-plan-2022-2026.pdf.

       Per statute, ILMS must have an Office of Museum Services and an Office Library

       Services. 20 U.S.C. § 9102(b). IMLS must also “regularly support and conduct, as




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       appropriate, policy research, data collection, analysis and modeling, evaluation, and

       dissemination of information to extend and improve the Nation’s museum, library,

       and information services.” Id. § 9108(a). The agency is also tasked with disbursing

       and expending appropriated funds and other forms of assistance to support museums

       and libraries across U.S. states and territories. Id. §§ 9121-9165 (libraries), §§ 9171–

       9176 (museums). IMLS administers several competitive grant programs each year.

       See, e.g., id. § 9165 (Laura Bush 21st Century Librarian Program); id. § 9161 (Native

       American Library Services Grant Program); id. § 9162 (National Leadership Grants

       for Libraries Program).

                    2. MBDA

             In 2021, Congress created MBDA as an agency within the Department of

       Commerce. 15 U.S.C. § 9502. The agency’s purpose is to “promote the growth, global

       competitiveness, and the inclusion of minority-owned businesses through data,

       research, evaluation, partnership programs, and federal financial assistance

       programs.” U.S. DEP’T OF COMMERCE, MBDA, FISCAL YEAR 2025 CONGRESSIONAL

       JUSTIFICATION     16      (2024),   https://www.commerce.gov/sites/default/files/2024-

       03/MBDA-FY2025-Congressional-Budget-Submission.pdf. The Under Secretary of

       Commerce for Minority Business heads the MBDA. 15 U.S.C. § 9502(b)(1).

             The MBDA Business Center Program is a program under the MBDA, id.

       § 9523(a)(1), that creates “a national network of public-private partnerships” to: (1)

       help minority business enterprises with “accessing capital, contracts, and grants” and

       “creating and maintaining jobs”; (2) “provide counseling and mentoring to minority




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       business enterprises”; and (3) “facilitate the growth of minority business enterprises

       by promoting trade.” Id. § 9522.     Under the MBDA Business Center Program, the

       MBDA Under Secretary must “make Federal assistance awards to eligible entities to

       operate MBDA Business Centers”—which are tasked with providing “technical

       assistance and business development services, or specialty services, to minority

       business enterprises.” Id. § 9523(3). Tangentially related to the MBDA Business

       Centers is the MBDA’s Office of Business, which is administered by a Director. Id.

       § 9502(d)(2).

                       3. FMCS

             FMCS is the oldest of the three agencies, established by Congress in the Taft-

       Hartley Act of 1947. See Labor Management Relations Act, 1947, Pub. L. No. 80-101,

       § 202, 61 Stat. 136. Congress charged this agency with “assist[ing] parties to labor

       disputes in industries affecting commerce to settle such disputes through conciliation

       and mediation.” 29 U.S.C. § 173(a). Thus, the statute instructs FMCS to perform a

       wide range of functions related to resolving labor disputes, including: (1) conducting

       grievance mediations as a “last resort and in exceptional cases” to resolve “disputes

       arising over the application or interpretation of an existing collective-bargaining

       agreement,” id. § 173(d), and (2) providing labor mediation and conciliation services

       “to assist parties to labor disputes affecting commerce to settle such disputes,” see id.

       § 173(a)-(c). FMCS also provides other services to facilitate the resolution of labor

       such as “appoint[ing] arbitration panels and arbitrators; conduct[ing] skills

       development and conflict resolution training; and verif[ying] signed union




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       authorization cards when employers agree to use that method to recognize a union.”

       ECF No. 1 ¶ 124.

             B. Executive Order 14238

             On March 14, 2025, the President issued the Reduction EO, which directs

       seven federal agencies—including IMLS, MBDA, and FMCS—to: (1) eliminate their

       “non-statutory components and functions . . . to the maximum extent consistent with

       applicable law,” and (2) “reduce the performance of their statutory function and

       associated personnel to the minimum presence and function required by law.” Exec.

       Order No. 14238 § 2(a), 90 Fed. Reg. 13043 (Mar. 14, 2025). The Reduction EO

       instructs the head of each of these agencies to submit, within seven days, a report to

       the Director of the Office of Management and Budget (OMB) “confirming full

       compliance with this order and explaining which components or functions of the

       government entity, if any, are statutorily required and to what extent.” Id. § 2(b).

       Further, the Reduction EO outlines that, upon review of budget requests these

       agencies submit, the OMB Director “shall, to the extent consistent with applicable

       law and except insofar as necessary to effectuate an expected termination, reject

       funding requests . . . to the extent they are inconsistent with this order.” Id. § 2(c).

             A day after issuing the Reduction EO, the President signed the Full-Year

       Continuing Appropriations and Extensions Act, 2025, Pub. L. No. 119-4, 139 Stat. 9

       (2025)—in which Congress funded IMLS, MBDA, and FMCS through September 30,

       2025 at the same level it funded these agencies in fiscal year 2024.                  See

       Continuing Appropriations Act § 1101(a)(2), (8). In 2024, Congress appropriated:




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       (1) $294,800,000 to IMLS “[f]or carrying out the Museum and Library Services Act of

       1996 and the National Museum of African American History and Culture Act,”

       Further Consolidated Appropriations Act, 2024, Pub. L. No. 118-47, div. D, tit. 4, 138

       Stat. 460; (2) appropriated $53,705,000 to FMCS “to carry out the functions vested in

       it by the” Taft-Hartley Act, id.; and (3) $68,250,000 “[f]or necessary expenses of the

       Minority Business Development Agency in fostering, promoting, and developing

       minority business enterprises, as authorized by law.” Id., Pub. L. No. 118-42, div. C,

       tit. 1.

                 C. Impact of Executive Order 14238

                 Since the issuance of the Reduction EO, leadership of IMLS, MBDA, and FMCS

       have taken several actions in furtherance of the EO’s mandates. At IMLS, the

       agency’s leadership held an agency-wide town hall in which they informed employees

       that: (1) they anticipated the agency would be stripped “down to the studs”; (2)

       employees should anticipate dismissal soon; and (3) a reduction in force (“RIF”) plan

       would likely be implemented soon thereafter. ECF No. 3-40 ¶ 6. A few weeks later,

       IMLS’s Director of Human Resources told staff that the “entirety of IMLS” would be

       placed on administrative leave and all IMLS grants would be terminated, “with the

       potential exception of the Grants to States Program.” Id. ¶ 11.

                 Additionally, the Director of Human Resources indicated that all but a handful

       of staff members should expect a RIF in 30 days or less. Id. That same day, IMLS

       emailed state librarians notifying them that “IMLS received word that all staff are

       going to be placed on administrative leave,” and staff accordingly would “not be able




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       to work or respond to your emails.” ECF No. 1-2. IMLS later recalled twelve staff

       members from administrative leave. ECF No. 3-40 ¶ 15. Prior to the significant

       reduction in personnel, thirty-five employees were charged with administering

       IMLS’s grant programs. Id. ¶ 17. Only four of the twelve employees recalled from

       administrative leave have grant administering experience, of whom only one

       administered the Grants to States Program. Id. ¶ 20. Further, none of the twelve

       employees works in IMLS’s Office of Research and Evaluation, rendering it

       essentially defunct. Id. ¶ 22. And as of now, IMLS has terminated well over 1,000

       grants—with the same boilerplate notice letter stating that the grant was “‘no longer

       consistent with the [agency’s] priorities’ and that the President’s March 14, 2025,

       executive order ‘mandates that the IMLS eliminate all non-statutorily required

       activities and functions.’” ECF No. 35-3 ¶ 5; see also ECF Nos. 35-5 at 10-11, 35-6

       at 6-7, 35-8 at 5-20, 35-9 at 4-5 (IMLS grant termination letters that grantees

       received).

             As to MBDA, the agency placed all but five of its employees2 on paid

       administrative leave shortly after the Reduction EO’s issuance. ECF No. 3-41 ¶ 5.

       And now, those five employees have since been reassigned to positions outside the

       MBDA. ECF No. 35-4 ¶ 5. MBDA also announced that it was implementing a RIF.

       ECF No. 1-3. And the agency appears to have since terminated all preexisting MBDA




             2 Those remaining employees are the Deputy Under Secretary of Commerce for

       Minority Business Development, the Chief Operating Officer, the Chief of the Office
       of Legislative, Education, and Intergovernmental Affairs, a senior advisor, and a
       budget analyst. See ECF No. 3-41 ¶ 5.

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       grant awards in furtherance of the Reduction EO. See ECF No. 45-1 ¶ 4; see also

       ECF Nos. 45-2 at 4; 45-3 at 6, 7; 45-4 at 2; 45-5 at 2; 45-6 at 2; 45-6 at 2. The staff

       terminated include employees responsible for maintaining MBDA’s informational

       clearinghouse, which is central to the agency’s statutorily mandated responsibility to

       collect and share data related to minority enterprise. ECF No. 3-41 ¶ 13. Further,

       the agency has ceased several programs and services, including its Minority Business

       Advisory Council. Id.

              Lastly, FMCS placed almost all of its over 200 employees on administrative

       leave in the aftermath of the Reduction EO’s issuance. ECF No. 3-42 ¶ 4-7. Now,

       only about ten to fifteen FMCS employees—all of whom are based in the agency’s

       D.C. headquarters—remain on the job. See ECF No. 3-26 ¶ 17. And FMCS has

       started a RIF plan to terminate all but those ten to fifteen remaining employees.

       ECF No. 3-42 ¶ 7; see also Jory Heckman Federal labor mediation agency cuts staff

       down    to   ‘skeleton    crew’   (Mar.    26,    2025),   FED.    NEWS     NETWORK,

       https://federalnewsnetwork.com/workforce/2025/03/federal-labor-mediation-agency-

       cuts-staff-down-to-skeleton. Additionally, because the agency has only a fraction of

       its personnel remaining, it appears that “[n]early all of services [FMCS had]

       provided—mediation for collective bargaining, grievances, employment disputes,

       EEOC complaints, and trainings with both unions and management to promote labor

       peace—are no longer going to be provided.” Heckman, supra.




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             It is these series of actions the Defendants have taken to implement the

       Reduction EO as to IMLS, MBDA, and FMCS, that has prompted the States to seek

       a preliminary injunction enjoining the Defendants from giving effect to that EO.

       II.   STANDARD OF REVIEW

             “A request for a preliminary injunction is a request for extraordinary relief.”

       Cushing v. Packard, 30 F.4th 27, 35 (1st Cir. 2022). “To secure a preliminary

       injunction, a plaintiff must show ‘(1) a substantial likelihood of success on the merits,

       (2) a significant risk of irreparable harm if the injunction is withheld, (3) a favorable

       balance of hardships, and (4) a fit (or lack of friction) between the injunction and the

       public interest.’” NuVasive, Inc. v. Day, 954 F.3d 439, 443 (1st Cir. 2020) (quoting

       Nieves-Marquez v. Puerto Rico, 353 F.3d 108, 120 (1st Cir. 2003)). In evaluating

       whether the plaintiffs have met the most important requirement of likelihood of

       success on the merits, a court must keep in mind that the merits need not be

       “conclusively determine[d];” instead, at this stage, decisions “are to be understood as

       statements of probable outcomes only.” Akebia Therapeutics, Inc. v. Azar, 976 F.3d

       86, 93 (1st Cir. 2020) (partially quoting Narragansett Indian Tribe v. Guilbert, 934

       F.2d 4, 6 (1st Cir. 1991)). “To demonstrate likelihood of success on the merits,

       plaintiffs must show ‘more than mere possibility’ of success–rather, they must

       establish a ‘strong likelihood’ that they will ultimately prevail.” Sindicato

       Puertorriqueño de Trabajadores, SEIU Local 1996 v. Fortuño, 699 F.3d 1, 10 (1st Cir.

       2012) (per curiam) (quoting Respect Maine PAC v. McKee, 622 F.3d 13, 15 (1st Cir.

       2010)).




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       III.   DISCUSSION

              A. Jurisdiction

                    1.     Standing

              The Defendants argue that the States lack standing to seek relief that would

       prohibit OMB from implementing the Reduction EO with respect to the four other

       agencies that are included in that Order but are not the subject to this lawsuit. ECF

       No. 41 at 9. But the States do not dispute that they cannot seek relief as to those four

       agencies not included in their Complaint. ECF No. 44 at 4. Instead, the States affirm

       that the claims outlined in their Complaint and preliminary injunction motion

       encompass the “Defendants’ actions as to the IMLS, MBDA, and FMCS.” Id. Thus,

       while the States’ request that the Court enjoin the Defendants from “implementing

       the Closure Order and the Closure Decisions” can admittedly be read as all

       encompassing, see ECF No. 1 at 53, the States have made it clear that the specific

       relief they seek is for the Court to enjoin the Defendants from implementing the

       Reduction EO as to the IMLS, MBDA, and FMCS. See ECF No. 3 at 2 (“Plaintiff

       States move for issuance of an order . . . restraining Defendants from implementing

       actions in accordance with [the Reduction EO] as they relate to the Institute of

       Museum and Library Services (IMLS), the Minority Business Development Agency

       (MBDA), and the Federal Mediation and Conciliation Service (FMCS) . . ..”) (emphasis

       added); see also Tr. of Prelim. Inj. H’rg. 43, ECF No. 48 (States explaining that “the

       relief that we’re seeking is to enjoin the closure decisions and to enjoin these three




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       agencies’ application and implementation of the Executive Order.”). Accordingly,

       equitable relief against non-parties is not at issue here.

                    2.     Ripeness

             Next, the Defendants contend that nearly all the States’ claims of potential

       injury from “future delays or failure to receive IMLS, MBDA, and FMCS funds and

       services” are speculative and thus are not ripe for the Court’s review. ECF No. 41

       at 11. But the unrefuted record before the Court reveals that the States are relying

       on more than mere speculation when asserting harms—current or imminent—

       stemming from the Defendants’ efforts to significantly reduce agency services and

       personnel under the Reduction EO.        For example, on April 9, 2025, an MBDA

       employee received a RIF notice from the Office of the Deputy Secretary of Commerce

       that plainly stated that “[t]he Department is abolishing all positions within MBDA.”

       ECF No. 35-4 at 4. According to that MBDA employee, only five MBDA employees

       were not placed on administrative leave and have since been reassigned to positions

       outside the MBDA. See id. at ¶ 5. It is unclear how it is speculative for the States to

       precipitate delays in funds and services from the MBDA—and harms flowing

       therefrom—when the unrebutted record reveals that MBDA’s workforce has been

       reduced to zero. States receiving MBDA funding have stated any pause to such

       funding will prompt cuts to essential programming. See, e.g., ECF No. 3-11 ¶¶ 13,

       20; ECF No. 3-12 ¶¶ 9, 16. Despite many opportunities to do so, the Defendants have

       presented no evidence suggesting that these MBDA funds and services can still be

       administered, in a timely fashion or at all, in the absence of MBDA’s workforce. And




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       now, recent developments show that all existing MBDA grants were terminated

       based, in part, on the Reduction EO’s mandate for the agency to eliminate all non-

       statutorily required activities and functions. See ECF No. 45-1 ¶ 4; see also ECF Nos.

       45-2, 45-3, 45-4, 45-5, 45-6, 45-7 (Notice of grant terminations to MBDA grantees in

       Arizona, Hawai‘i, Wisconsin, and Rhode Island).

             As to FMCS, the agency announced the cessation of public sector conciliation

       services as of April 18, 2025, ECF No. 1-4, which are services the States have attested

       to regularly using and benefiting from. See, e.g., ECF No. 3-39 ¶¶ 7-8; ECF No. 3-26

       ¶¶ 13(a), 22-23; ECF No. 3-30 ¶ 10. And as to the IMLS, the agency’s headcount was

       reduced from seventy-seven to twelve employees3 in the aftermath of the Reduction

       EO’s issuance. ECF No. 3-40 ¶¶ 4, 13. An IMLS employee attested, based on their

       experience, that the twelve remaining employees “will not be able to administer the

       volume of existing grants and incoming grant applications for the upcoming year

       [and] [a]s a result . . . no new grants will be awarded, and most existing grants will

       be terminated.” Id. ¶ 21. Now, many of the States have attested to being compelled

       to cut staff and shut down programs due to the grant terminations and missed grant

       payments in the wake of the agency’s apparent implementation of the Reduction EO.

       See, e.g., ECF No. 3-33 ¶¶ 4-10, 20, 22 (Washington); ECF No. 3-3 ¶¶ 16, 22, 23, 31–

       32 (California); ECF No. 3-4 ¶¶ 17–19, 31 (Connecticut); ECF No. 35-5 ¶¶ 10-12

       (Maryland). The States have presented compelling evidence illustrating that the




             3 All but twelve IMLS employees were placed on administrative leave.        ECF
       No. 40 ¶ 14.

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       harms stemming from the dismantling of IMLS, MBDA, and FMCS are already

       unfolding or are certain to occur, in light the significant reduction in personnel

       available and competent to administer these agencies’ funds and services and the

       elimination of certain programs that served the States. Accordingly, the States’

       claims are sufficiently ripe for the Court’s review.

                    3.     Subject Matter Jurisdiction

                           a. The Tucker Act

             Next, the Defendants argue that the Court lacks jurisdiction over the States’

       APA claims related to the Defendants grant terminations because, under the Tucker

       Act, Congress vested the Court of Claims with exclusive jurisdiction over such claims.

       ECF No. 41 at 14. The Court disagrees. The Tucker Act “provides jurisdiction and

       waiver of immunity in the Claims Court so long as the action: 1) is against the United

       States; 2) seeks relief over $10,000; and 3) is founded upon the Constitution, federal

       statute, executive regulation or governmental contract.” Vill. W. Assocs. v. Rhode

       Island Hous. & Mortg. Fin. Corp., 618 F. Supp. 2d 134, 138 (D.R.I. 2009) (citing 28

       U.S.C. § 1491(a)). To support the contention that the States’ challenges to the grant

       terminations are claims sounding in contract, the Defendants rely primarily on the

       Supreme Court’s ruling on an emergency stay application in Department of

       Education v. California, 145 S. Ct. 966 (2025) (per curiam).

              In California, the Supreme Court stayed a district court’s temporary

       restraining order that enjoined the Government from terminating education-related

       grants after finding that the Government was “likely to succeed in showing the

       District Court lacked jurisdiction to order the payment of money under the APA.” Id.


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       at 968. The Supreme Court highlighted that the APA’s sovereign immunity waiver

       does not apply to claims seeking “money damages,” id. (citing 5 U.S.C. § 702), then

       explained that the APA’s immunity waiver “does not extend to orders ‘to enforce a

       contractual obligation to pay money’ along the lines of what the District Court ordered

       . . .” Id. (quoting Great-West Life & Annuity Ins. Co. v. Knudson, 534 U.S. 204, 212

       (2002)). The Supreme Court highlighted that the “Tucker Act grants the Court of

       Federal Claims jurisdiction over suits based on ‘any express or implied contract with

       the United States.’” Id. (quoting 28 U.S.C. § 1491(a)(1)).

              But California does not render this Court an improper forum for the States’

       claims under the APA.        To start, California’s precedential value is limited,

       considering that the Supreme Court issued the decision on its emergency docket, in

       the context of an application for a stay pending appeal, and based on “barebones

       briefing, no argument, and scarce time for reflection.” 145 S. Ct. at 969 (Kagan, J.,

       dissenting); see also Merrill v. Milligan, 142 S. Ct. 879 (2022) (Kavanaugh, J.,

       concurring) (“The principal dissent’s catchy but worn-out rhetoric about the ‘shadow

       docket’ is similarly off target. The stay will allow this Court to decide the merits in

       an orderly fashion—after full briefing, oral argument, and our usual extensive

       internal deliberations—and ensure that we do not have to decide the merits on the

       emergency docket. To reiterate: The Court’s stay order is not a decision on the

       merits.”).

              Further, the California stay order does not displace governing law that guides

       the Court’s approach to discerning whether the States’ claims are essentially contract




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       claims in order to direct jurisdiction to the Court of Claims. “Whether a claim is ‘at

       its essence’ contractual for the Tucker Act ‘depends both on the source of the rights

       upon which the plaintiff bases its claims, and upon the type of relief sought (or

       appropriate).’” Crowley Gov’t Servs., Inc. v. Gen. Servs. Admin., 38 F.4th 1099, 1106

       (D.C. Cir. 2022) (quoting Megapulse, Inc. v. Lewis, 672 F.2d 959, 968 (D.C. Cir. 1982)).

       The Court first addresses the States’ source of rights; here the States bring claims

       under the APA and the United States Constitution. See ECF No. 1 at 44-52. As the

       Defendants recognize, the States are not “challeng[ing] specific grant terminations

       [or] specific payments they claim to be entitled to.” ECF No. 41 at 21. Rather, the

       States’ suit challenges each agency’s actions implementing a categorical policy to

       eliminate their “non-statutory components and functions” and “reduce the

       performance of their statutory function and associated personnel” under the

       Reduction EO. See Exec. Order No. 14238 § 2(a), 90 Fed. Reg. 13043 (Mar. 14, 2025).

       True, some of the harms the States allege because of these decisions include the

       termination of certain grant agreements. But nowhere are the parties quibbling over

       whether the States subject to those grant terminations breached the terms or

       conditions of the underlying agreements as to transform this action into one sounding

       in contract. Rather, the States’ challenges are grounded on whether the Defendants’

       actions exceeded the bounds of their statutory or constitutional authorities.

             The Court now turns to the relief the States seek. The Court of Claims’

       exclusive jurisdiction under the Tucker Act does not arise “merely because [a

       plaintiff] hints at some interest in a monetary reward from the federal government




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       or because success on the merits may obligate the United States to pay the

       complainant.” Crowley Gov’t Servs., Inc., 38 F.4th at 1108 (quoting Kidwell v. Dep’t

       of Army, 56 F.3d 279, 284 (D.C. Cir. 1995)). Indeed, the Supreme Court reaffirmed,

       in California, that “a district court’s jurisdiction ‘is not barred by the possibility’ that

       an order setting aside an agency’s action may result in the disbursement of funds.”

       California, 145 S. Ct. at 968 (quoting Bowen v. Massachusetts, 487 U.S. 879, 910

       (1988)).   The States seek equitable relief to enjoin the Defendants’ actions

       implementing the Reduction EO—not specific performance of any grant agreements.

       True, the scope of the relief the States seek implicates enjoining the unlawful

       terminations of their grants. But such relief “is not a claim for money damages,”

       precluded under the APA—even though “it is a claim that would require the payment

       of money by the federal government.” Bowen, 487 U.S. at 894. That is because money

       damages are a remedy at law that “provide relief that substitutes for that which ought

       to have been done.”      Id. at 910.    Whereas specific relief does not constitute a

       “substitute remed[y] at all, but attempt[s] to give the plaintiff the very thing to which

       he was entitled.” Id. at 895 (citations omitted). Here, the States “seek access to funds

       they are presently entitled to, ‘rather than money in compensation for the losses,

       whatever they may be, that [Plaintiffs] will suffer or ha[ve] suffered by virtue of the

       withholding of those funds.’” Climate United Fund v. Citibank, N.A., No. 25-CV-698

       (TSC), 2025 WL 1131412, at *10 (D.D.C. Apr. 16, 2025) (quoting Bowen, 487 U.S.

       at 895).




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               Accordingly, because the States’ challenges are based on alleged statutory

       and constitutional violations and the relief they seek is equitable, the essence of their

       claims are not contractual, so they are not subject to the exclusive jurisdiction of the

       Court of Claims under the Tucker Act. Crowley, 38 F.4th at 1106.

                           b. The Civil Service Reform Act

             Next, the Defendants assert that the Court lacks jurisdiction to consider the

       States’ challenges to the placement of IMLS, MBDA, and FMCS personnel on

       administrative leave because, under the Civil Service Reform Act (“CSRA”),

       “Congress made the Office of Special Counsel [OSC], the Merit Systems Protection

       Board (“MSPB”), and the Federal Labor Relations Authority (“FLRA”) the exclusive

       means for federal employees . . . and other interested parties to raise challenges to

       final, non-discrimination-related employment actions, even when those disputes

       involve constitutional claims.”     ECF No. 41 at 19-20 (citations omitted).         The

       Defendants urge that “the APA does not permit litigants to forestall properly

       applicable channeling regimes that Congress established.” Id. at 20.

             There is no dispute that the CSRA “established a comprehensive system for

       reviewing personnel action taken against federal employees.”           United States v.

       Fausto, 484 U.S. 439, 455 (1988). But to determine whether the CSRA’s statutory

       review scheme precludes district court jurisdiction, the Court must consider whether:

       (1) “the ‘statutory scheme’ displays a ‘fairly discernible’ intent to limit jurisdiction,”

       and (2) “the claims at issue ‘are of the type Congress intended to be reviewed within

       th[e] statutory structure.’” Free Enter. Fund v. Pub. Co. Acct. Oversight Bd., 561

       U.S. 477, 489 (2010) (quoting Thunder Basin Coal Co. v. Reich, 510 U.S. 200, 207,


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       212 (1994)). As to the second prong, the Court must presume that Congress does not

       intend to limit jurisdiction “if ‘a finding of preclusion could foreclose all meaningful

       judicial review’; if the suit is ‘wholly collateral to a statute’s review provisions’; and if

       the claims are ‘outside the agency’s expertise.’” Id. (quoting Thunder Basin, 510 U.S.

       at 212-213).

              The Court does not observe any jurisdiction bar within the CSRA’s statutory

       scheme that would apply to the States; the scheme, at most, contemplates the

       availability of judicial review of federal employees’ disputes over employment

       decisions. Specifically, the CSRA’s “comprehensive and exclusive” statutory scheme

       “protects covered federal employees against a broad range of personnel practices, and

       ... supplies a variety of causes of action and remedies to employees when their rights

       under the statute are violated.” Grosdidier v. Chairman, Broad. Bd. of Governors,

       560 F.3d 495, 497 (D.C. Cir. 2009) (emphasis added). Thus, “[a] federal employee

       generally may not pursue alternative routes of judicial review, such as by filing a civil

       action in district court under the APA.” Rodriguez v. United States, 852 F.3d 67, 82

       (1st Cir. 2017) (emphasis added). Here, none of the plaintiffs are federal employees

       so the Court need not review whether their claims fall under the ambit of the CSRA.

              As to the second prong, a finding of CSRA preclusion would foreclose all

       meaningful judicial review over the States’ claims because they cannot bring their

       claims under CSRA’s statutory scheme.             Further, the States’ challenges to the

       Defendants actions to implement the Reduction EO are plainly outside the MSPB’s

       expertise.     While the States’ challenges implicate the Defendants’ decisions to




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       terminate or place employees on leave, such challenges are not the run of the mill

       challenges to adverse employment actions with which the MSPB may be familiar.

       Instead, the States’ claims raise constitutional and statutory challenges to various

       agencies’ decisions effectuating “the termination of agency functions, the failure to

       carry out statutory duties, [and] the refusal to expend appropriations.” ECF No. 44

       at 11. The MSPB and OSC do not have the jurisdiction to review the congressional

       appropriation issues raised here. See Widakuswara v. Lake, No. 1:25-CV-1015-RCL,

       2025 WL 1166400, at *11 n.22 (D.D.C. Apr. 22, 2025)4 (“Widakuswara II”) (“the MSPB

       and OSC have no jurisdiction to review the cancellation of congressional

       appropriations.”). And the States’ remaining APA and constitutional claims—under

       separation of powers principles and the Take Care Clause—“raise[s] standard

       questions of administrative and constitutional law, detached from any issues related

       to federal employment.” Id. (quoting Axon Enter., Inc. v. FTC, 598 U.S. 175, 194

       (2023)) (internal quotation marks omitted). Thus, the States’ claims fall outside the

       “competence and expertise” of the administrative bodies that handle employee

       grievance arising under the CSRA.

             Lastly, for similar reasons, the States’ claims are “wholly collateral” to CSRA’s

       review provisions because they invoke constitutional and administrative questions




             4 The D.C. Circuit administratively stayed the preliminary injunction issued

       in Widakuswara II as to only the part of the order to restore grants but specified that
       “[t]he purpose of this administrative stay is to give the court sufficient opportunity to
       consider the emergency motions for stay pending appeal and should not be construed
       in any way as a ruling on the merits of those motions.” Widakuswara v. Lake, No. 25-
       5144 (D.C. Cir. May 1, 2024).

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       about the propriety of the agencies’ actions to curtail their respective statutory and

       discretionary functions—i.e., claims that do not necessarily relate to CSRA’s focus on

       the review of federal employee grievances. Accordingly, the CSRA statutory scheme

       does not reflect Congress’s intent to preclude the Court’s jurisdiction to review the

       States’ claims here.

             B. Likelihood of Success on the Merits

                    1. APA Claims

             The APA allows judicial review of “final agency action for which there is no

       other adequate remedy in a court.” 5 U.S.C. § 704. The States assert that the

       Defendants’ implementation of the Reduction EO violates the APA because such

       actions are arbitrary and capricious and contrary to law. Before reaching the merits,

       the Court must first address the Defendants’ contentions that the States’ claims

       cannot be subject to judicial review under the APA because the agency actions at

       issue are neither discrete nor final.

                           a. “Programmatic” Challenges

             The Defendants contend that the States do not challenge “discrete agency

       action,” “but rather a collection of grant terminations, personnel actions, and

       programmatic activities.” ECF No. 41 at 20-21. In making such arguments, the

       Defendants analogize the States’ challenges as the type of “programmatic challenge”

       that the Supreme Court dispelled in Lujan v. National Wildlife Fed’n, 497 U.S. 871

       (1990). See ECF No. 41 at 20-22. In Lujan, the “programmatic challenge” that the

       Supreme Court dispelled “was an attempt to seek ‘wholesale’ ‘programmatic




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       improvements’ ‘by court decree’ by ‘couch[ing]’ ‘[the Bureau of Land Management’s]

       land withdrawal review program’ as an ‘unlawful agency action.’” New York v.

       Trump, 133 F.4th 51, 67 (1st Cir. 2025) (quoting Norton v. S. Utah Wilderness All.,

       542 U.S. 55, 64 (2004)). But the Supreme Court recognized in Lujan that “if there is

       in fact some specific order or regulation, applying some particular measure across the

       board to all individual classification terminations and withdrawal revocations . . . it

       can of course be challenged under the APA.” 497 U.S. at 890 n.2.        Here, the States’

       claims are closer to the latter type of APA challenge; the States have underscored

       that they are challenging the Agency Defendant’s adoption of a discrete, categorical

       policy that applies the measure “of eliminating all functions and components not

       mandated by statute, and of dramatically reducing their remaining functions” across

       the board. See ECF No. 44 at 14-15. Accordingly, the States’ APA challenges are of

       the type deemed proper under Lujan.

                           b. Final Agency Action

             Now, the Court must address whether there was “final agency action” to permit

       judicial review under the APA. 5 U.S.C. § 704. “[A]gency action includes the whole

       or a part of an agency rule, order, license, sanction, relief, or the equivalent or denial

       thereof, or failure to act.” Id. § 551(13). “Agency action” is not an “all-encompassing”

       term that authorizes the Court to “exercise ‘judicial review [over] everything done by

       an administrative agency.’” Indep. Equip. Dealers Ass’n v. E.P.A., 372 F.3d 420, 427

       (D.C. Cir. 2004) (quoting Hearst Radio, Inc. v. FCC, 167 F.2d 225, 227 (D.C. Cir.

       1948)). Still, the term has a broad sweep—covering “comprehensively every manner




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       in which an agency may exercise its power.” Whitman v. Am. Trucking Ass’ns, 531

       U.S. 457, 478 (2001) (citing FTC v. Standard Oil Co. of Cal., 449 U.S. 232, 238 n.7

       (1980)). Relevantly, “[t]he term ‘action’ encompasses an agency’s ‘policy or routine

       practice.’” Am. Fed’n of Tchrs. v. Bessent, No. CV DLB-25-0430, 2025 WL 895326, at

       *13 (D. Md. Mar. 24, 2025) (quoting Amadei v. Nielsen, 348 F. Supp. 3d 145, 164

       (E.D.N.Y. 2018)). An agency action is final if: (1) it marks the “‘consummation’ of the

       agency’s decisionmaking process,” and (2) the action determines rights or obligations

       or creates legal consequences. Harper v. Werfel, 118 F.4th 100, 116 (1st Cir. 2024)

       (citing Bennett v. Spear, 520 U.S. 154, 177 (1997)). The Court is to apply the “finality”

       requirement in a “flexible” and “pragmatic” fashion. Abbott Lab’ys v. Gardner, 387

       U.S. 136, 149-151 (1967). For the purposes of this analysis, it is crucial to lay out the

       actions that occurred at IMLS, MBDA, and FMCS close to the Reduction EO’s

       issuance.

              At IMLS, an employee described that the agency’s leadership held a town hall

       during which they informed staff that IMLS “would look ‘very different’ following the

       President’s [Reduction] executive order and that it might be stripped ‘down to the

       studs.’” ECF No. 3-40 ¶ 6. Then on March 31, each office head within IMLS “met

       separately with their staff to inform them that the entirety of IMLS would be placed

       on admin[istrative] leave and that all grants would be terminated, with a potential

       exception of the Grants to States Program.” Id. ¶ 11. That same day all but twelve

       of IMLS’s staff of seventy-seven were placed on administrative leave. Id. ¶¶ 4, 13.

       Over a week later, IMLS terminated over 1,000 grants—and each termination notice




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       stated that the grant was “‘no longer consistent with the agencies’ priorities’ and that

       the President’s March 14, 2025, executive order ‘mandates that the IMLS eliminate

       all non-statutorily required activities and functions.’” ECF No. 35-3 ¶ 5; see also ECF

       Nos. 35-5 at 10-11, 35-6 at 6-7, 35-8 at 5-20, 35-9 at 4-5 (notices of grant termination

       from IMLS to grantees in Maryland, New Jersey, Washington, and Wisconsin citing

       the Reduction EO and stating that the grant terminations were based, in part, on

       “the President’s March 14, 2025 executive order [that] mandates that the IMLS

       eliminate all non-statutorily required activities and functions.”).

             At MBDA, a RIF notice to one of its employees revealed the plan to “eliminate

       the non-statutory components and functions of MBDA”—that appeared to include

       “abolishing all positions within MBDA.” ECF No. 35-4 at 4. And that appears to

       have occurred, because all MBDA employees have either been placed on

       administrative leave with a slated termination date of May 9, 2025, or have been

       reassigned to positions outside the MBDA. Id. ¶¶ 5–6. A declaration from an MBDA

       employee also reveals that Nate Cavanaugh—an individual purporting to act under

       the authority of Acting MBDA Undersecretary Keith Sonderling—sent out notices

       informing MBDA grant recipients that their grants were being terminated effective

       April 17, 2025. ECF No. 45-1 ¶ 4. That employee has conveyed that “all preexisting

       MBDA grants were terminated pursuant to such notices.” Id. The States have

       provided copies of such notice of grant terminations from the MBDA, all which

       include boilerplate language explaining that the grants were being terminated, in

       part based on the “the President’s March 14, 2025 executive order [that] mandates




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       that the MBDA eliminate all non-statutorily required activities and functions.”. See

       ECF Nos. 45-2 at 4; 45-3 at 6, 7; 45-4 at 2; 45-5 at 2; 45-6 at 2; 45-7 at 2.

             Lastly, at the FMCS, staff has been cut from 207 to fifteen. ECF No. 3-42 ¶¶ 4-

       7. A letter from the Director of Human Resources indicates that the RIF implemented

       was “taken in accordance with President Donald Trump’s . . . Executive Order 14238

       [Reduction EO] of March 14, 2025.” Id. at 5. Further, FMCS circulated an internal

       memorandum citing the Reduction EO as among the “updated guidance” the agency

       received to implement a plan to perform “only statutory mandated functions.” ECF

       No. 1-4 at 2. And that memorandum also outlined “operational adjustments” to take

       effect immediately, stating that the agency: (1) will not accept new public sector and

       grievance mediation, and (2) should not schedule new in-person education, advocacy,

       and outreach meetings. Id. at 2-3.

             What the unrefuted evidence reveals is that, to comply with the Reduction EO,

       IMLS, MBDA, and FMCS each adopted a policy to eliminate all non-statutorily

       required activities and functions and reduce their statutory functions and personnel

       to the bare minimum—thereby taking an “agency action.” Bessent, 2025 WL 895326,

       at *13. And each of those agencies “consummat[ed] [their] decisionmaking process”

       upon adopting such policies as there is no evidence that these decisions to eliminate

       non-statutorily required activities and functions are “tentative or interlocutory.”

       Bennett, 520 U.S. at 178. Rather, as surmised above, the IMLS, MBDA, and FMCS

       made it explicitly clear in various memoranda, grant termination letters, and other

       documents that they were terminating grants, staff, and programs pursuant to their




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       effort to “eliminate all non-statutorily required activities.”          Further, “legal

       consequences” flow from these decisions, as: (1) the States and other grant recipients

       no longer have access to previously award funds because of grant terminations and

       withheld or delayed disbursements; (2) the personnel necessary for these agencies to

       feasibly administer grant awards and payments to the States have been removed, en

       masse, and (3) FMCS, in particular, has stopped providing public sector services to

       the States. Accordingly, the Court finds that IMLS, MBDA, and FMCS have taken

       final agency actions subject to the Court’s review.

                           c. Arbitrary and Capricious

             Under the APA, a “reviewing court shall . . . hold unlawful and set aside agency

       action, findings, and conclusions found to be . . . arbitrary, capricious . . .” 5 U.S.C.

       § 706(2)(A). Agency action is arbitrary and capricious “if it is not reasonable and

       reasonably explained.”    Ohio v. E.P.A., 603 U.S. 279, 292 (2024) (citing FCC v.

       Prometheus Radio Project, 556 U.S. 502, 513 (2021)). While the scope of review under

       this standard is “narrow” and the Court may not “substitute its judgment for that of

       the agency,” the agency must still articulate a satisfactory explanation for its action

       including a ‘rational connection between the facts found and the choice made.’” Motor

       Vehicle Mfrs. Ass’n of U.S. v. State Farm Mut. Auto. Ins., 463 U.S. 29, 43 (1983)

       (quoting Burlington Truck Lines v. United States, 371 U.S. 156, 168 (1962)). That

       requirement is satisfied when the agency’s explanation is clear enough that its “path

       may reasonably be discerned.” Encino Motorcars, LLC v. Navarro, 579 U.S. 211, 221

       (2016) (citing Bowman Transp., Inc. v. Arkansas-Best Freight Sys., Inc., 419 U.S. 281




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       286 (1974)). But “where the agency has failed to provide even that minimal level of

       analysis, its action is arbitrary and capricious and so cannot carry the force of law.”

       Id.

             Here, there is an absence of any reasonable explanation from IMLS, MBDA,

       and FMCS. The Reduction EO—with which these agencies sought to comply through

       their challenged policies—stated that the “non-statutory components and functions”

       of IMLS, MBDA, and FMCS shall be “eliminated to the maximum extent consistent

       with applicable law.” 90 Fed. Reg. 13043 (Mar. 14, 2025). But the Defendants have

       not shown that any analysis was conducted to determine which “components and

       functions” of IMLS, MBDA, and FMCS are statutorily required, and which are not.

             For instance, in its letter apprising employees of their placement on

       administrative leave, IMLS merely indicated that “this action . . . is taken to facilitate

       the work and operations of the agency.” ECF No. 1-1 at 2; see also ECF No. 3-40 at

       4. And both MBDA and FMCS explained that the implementation of a RIF was being

       done in accordance with the Reduction EO—shortly before most of their employees

       were placed on administrative leave. See ECF No. 3-42 at 4-5; ECF No. 1-3 at 2.

       Further, in its memorandum announcing the cessation of its core programs, FMCS

       stated it was “required to perform only statutorily mandated functions” because of

       the mandates in the Reduction EO and other executive orders and guidance. See

       ECF No. 1-4 at 2. And, as the States point out, MBDA has not publicly acknowledged

       or even explained the removal of all its staff and the abrupt dismantling of its core

       programs. See ECF No. 3-41 ¶ 13 (indicating that MBDA has: (1) taken down grant




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       solicitations for its Rural Business Center Program and Women Entrepreneurship

       Program, (2) eliminated its Minority Business Center Advisory Council, and (3)

       placed all staff responsible for its informational clearinghouse—“a statutorily

       mandated activity to collect and share data on minority business enterprises”—on

       administrative leave.).

             IMLS has also offered no further explanation for the termination of thousands

       of its grants other than stating that the grants are “no longer consistent with the

       agency’s priorities” and citing the Reduction EO’s mandate to “eliminate all non-

       statutorily required activities and functions.” See ECF Nos. 35-5 at 11; 35-6 at 7; 35-

       8 at 5-20; 35-9 at 5. And grant termination letters from MBDA provided the same

       anemic explanations, using nearly the same language that was used in the boilerplate

       IMLS grant termination letters. See ECF Nos. 45-2 at 4; 45-3 at 6, 7; 45-4 at 2; 45-5

       at 2; 45-6 at 2; 45-7 at 2 (“MBDA has determined that your grant is unfortunately no

       longer consistent with the agency’s priorities . . . [and] the President’s [Reduction EO]

       mandates that the MBDA eliminate all non-statutorily required activities and

       functions . . . Therefore, the MBDA hereby terminates your grant in its entirety . . .”).

             Recall that “[t]he APA requires a rational connection between the facts, the

       agency’s rationale, and the ultimate decision.” Nat’l Council of Nonprofits v. Off. of

       Mgmt. & Budget, No. 25-239 (LLA), 2025 WL 368852, at *11 (D.D.C. Feb. 3, 2025).

       Thus, conclusory statements do not “reasonably” explain agency action. See Amerijet

       Int’l, Inc. v. Pistole, 753 F.3d 1343, 1350 (D.C. Cir. 2014) (quoting Butte Cnty., Cal.

       v. Hogen, 613 F.3d 190, 194 (D.C. Cir. 2010)) (“[T]o this end, conclusory statements




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       will not do; an ‘agency’s statement must be one of reasoning.’”). Here, the “rational

       connections” are absent, as IMLS’s, MBDA’s, and FMCS’s justifications for

       eliminating programs, terminating grants, and implementing large-scale employee

       RIFs have been couched in mere conclusory statements—most of which merely defer

       to the Reduction EO. There is no explanation about why the targeted programs or

       grants fell within the ambit of “non-statutory” functions or components.        Such

       conclusory explanations, “devoid of data or any independent explanation, [are]

       grossly insufficient and fall[] far short of reasoned analysis.” Widakuswara v. Lake,

       No. 25-CV-2390 (JPO), 2025 WL 945869, at *5 (S.D.N.Y. Mar. 28, 2025)

       (“Widakuswara I”).

             Additionally, ILMS, MBDA, and FMCS have failed to indicate that they

       considered any of the significant reliance interests of their program beneficiaries or

       grantees such as libraries, museums, business centers, contractors, labor unions,

       states, and local governments. See Dep’t of Homeland Sec. v. Regents of the Univ. of

       Cal., 591 U.S. 1, 30 (2020) (citations omitted) (“When an agency changes course, as

       [IMLS, MBDA, FMCS] did here, it must be cognizant that longstanding policies may

       have engendered serious reliance interests that must be taken into account. It would

       be arbitrary and capricious to ignore such matters.”). The States have presented

       compelling evidence that they rely on timely and continuous disbursements to

       continue operating several important programs and services. See, e.g., ECF No. 3-

       24 ¶¶ 18, 22 (New Mexico explaining that delay in disbursement of IMLS grant funds

       will prompt the delay, suspension, or reduction of interlibrary loan services); ECF




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       No. 3-3 ¶ 27 (California State Librarian noting that “If we do not receive such

       disbursements/reimbursements [from IMLS], it will stop statewide and local public

       library programs immediately and before they can be completed, contracted services

       will be denied payment. Much-needed library services to Californians will cease.

       Money for the salary and benefits for a significant portion of the California State

       Library’s staff (34 positions) would be unavailable, and layoffs would ensue.”); ECF

       No. 3-10 ¶ 16 (“Any pause in funding would delay completion of client projects,

       resulting in clients losing access to capital and contracting opportunities, prevent new

       clients from accessing these services and resources, and may lead to loss of jobs.

       Delay would also eliminate our ability to fill key staff positions currently open, and

       would therefore terminate the ability to restore vital business activity by the Hawai‘i

       MBDA Business Center.”).

             Further, the States have supplied evidence underscoring how much they have

       depended on FMCS to provide mediation and conciliation services to solve non-federal

       public sector disputes and to prevent “prolonged labor disputes that could disrupt the

       provision of essential state services.” ECF No. 3-30 ¶¶11-13 (noting prolonged labor

       disputes pose risks to state services such as child welfare); see also ECF No. 3-32 ¶ 13

       (“If FMCS ceased to function in a meaningful way . . . Rhode Island would suffer from

       prolonged labor disputes that could disrupt transportation, healthcare, and other

       critical services throughout the State.”); ECF No. 3-26 ¶ 8.b n.1 (School District in

       Illinois required to seek emergency mediation services “after the Parties had spent

       five (5) months working with an FMCS mediator whose services suddenly ceased to




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       be available” after the issuance of the Reduction EO); id. ¶¶ 18, 22 (explaining that

       FMCS mediators are “exceedingly competent and well-trained”; New Mexico will “not

       be able to replace those services in the near or medium term”). These examples show

       the significant reliance interests that IMLS, MBDA, and FMCS appeared not to

       consider when hastily adopting the mandates in the Reduction EO. “In light of the

       serious reliance interests at stake, [IMLS, MBDA, and FMCS’] conclusory statements

       do not suffice to explain [their] decision[s].” Encino Motorcars, 579 U.S. at 224.

             Accordingly, because IMLS, MBDA, and FMCS have not provided a rational

       connection between the sweeping actions they have taken and the vague, conclusory

       justifications they have provided, the Court finds that the States have established a

       strong likelihood of success on their arbitrary and capricious claims. Ohio, 603 U.S.

       at 292. Further, the Court finds that the States have illustrated a strong likelihood

       of success on their claims that IMLS, MBDA, and FMCS acted arbitrarily and

       capriciously in failing to consider reliance interests. Regents, 591 U.S. at 30; see also

       Smiley v. Citibank (S. Dakota), N.A., 517 U.S. 735, 742 (1996) (citations omitted)

       (“Sudden and unexplained change, . . . or change that does not take account of

       legitimate reliance . . . may be ‘arbitrary, capricious [or] an abuse of discretion.’”

                           d. Contrary to Law

             IMLS, MBDA, and FMCS also likely violated the APA, as their actions were

       “not in accordance with law.” 5 U.S.C. 706(2)(A).

                                 i.   Actions Inconsistent with the Agencies’ Mandatory
                                      Statutory Duties




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             “Under Article II of the Constitution and relevant Supreme Court precedents

       the President [and subordinate executive agencies] must follow statutory mandates.”

       In re Aiken Cnty., 725 F.3d 255, 259 (D.C. Cir. 2013). The Executive may not “decline

       to follow a statutory mandate or prohibition simply because of policy objections.” Id.

       Thus, “absent a lack of funds or a claim of unconstitutionality that has not been

       rejected by final Court order, the Executive must abide by statutory mandates and

       prohibitions.” Id. Here, the States have presented compelling evidence illustrating

       that IMLS, MBDA, and FMCS are flouting their statutory mandates in implementing

       the directives outlined in the Reduction EO.

             Starting with IMLS, Congress directed the agency to conduct regular research

       and data collection to “extend and improve the Nation’s museum, library, and

       information services.” 20 U.S.C. § 9108(a). Congress also tasked the agency with

       administering the Grants to States Program, see id. § 9141, which involves: (1)

       reviewing state plans from fifty-nine states and territories, id. §§ 9122(3), (5),

       9134(e)(1); (2) notifying jurisdictions of noncompliant plans and providing “technical

       assistance” to help bring such plans into compliance, id. § 9134(e)(3)(A), (C); (3)

       paying the “Federal share of the activities” described in approved state plans, id.

       § 9133(a), and monitoring state expenditures, id. § 9133(c).      Further, Congress

       charged IMLS with administering grant programs relating to the National Museum

       of African American History and Culture, 20 U.S.C. § 80r-5(b), and the National

       Museum of the American Latino, id. § 80u(f)(2). Congress also instructed IMLS to

       administer several competitive grant programs each year. Id. § 9165(a)(1)-(3) (Laura




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       Bush 21st Century Librarian Program); id. § 9161 (Native American Library Services

       Grant Program); id. § 9162 (National leadership grants for libraries program).

             Before the large-scale RIF at the agency, IMLS carried out its responsibilities

       with seventy-seven employees—with thirty-five employees assigned mainly to

       administer the agency’s grants programs. ECF No. 3-40 ¶¶ 17-18. Nothing suggests

       that the twelve employees expected to be brought back from administrative leave will

       be able to fulfill IMLS’s wide-ranging statutory responsibilities. Id. ¶ 21. First, none

       of the returning twelve employees work in the IMLS’s Office of Research and

       Evaluation—which is the office primarily responsible for conducting the regular

       research and data collection that the statute requires IMLS to perform. Id. ¶ 22.

       Thus, with that office essentially defunct, there is no evidence that the agency will be

       able to perform its statutorily required regular research and data collection. See 20

       U.S.C. § 9108. Nor is there any indication that the twelve employees will be able to

       consider the large volume of new grant applications and administer any existing

       grants—especially because most of those twelve employees do not have experience

       with administering grants. ECF No. 3-40 ¶¶ 20-21.

             Regarding MBDA, Congress directed that the agency “shall” provide federal

       assistance awards and technical assistance to MBDA Business Centers, 15 U.S.C.

       § 9523(a)(3), and outlined the criteria the agency must use when awarding grants, id.

       § 9524. Congress also required MBDA to (1) “collect and analyze data” relating to

       minority business enterprises, id. § 9513(a)(1)(A); (2) conduct economic “research,

       studies, and surveys,” id. § 9513(a)(1)(B)(i); and (3) “provide outreach, educational




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       services, and technical assistance” in at least five languages, id. § 9513(A)(1)(C).

       Congress also instructed MBDA to establish a “regional office . . . for each of the

       regions of the United States,” id. § 9502(e)(2)(A) and provided a list of duties those

       offices must perform, including outreach, cooperation with relevant private and

       government entities, and information-gathering, id. § 9502(e)(2)(B).

              But as of now, no employees appear to be currently working at MBDA. See

       ECF No. 35-3 ¶¶ 4-5. Thus, there is no one who can: (1) staff the “regional office for

       each of regions of the country” that MBDA is statutory required to have, see 15 U.S.C.

       § 9502(e)(2)(A); (2) monitor MBDA’s existing grants for compliance—if any still exist;

       or (3) timely award new grants, all of which used to be facilitated by a team of forty

       employees. See ECF No. 3-41 ¶¶ 10-12. MBDA has ceased performing many of its

       statutory duties, including: (1) posting new grant solicitations; (2) performing data

       collecting and sharing on minority business enterprises, and (3) undertaking required

       communications with MBDA centers. Id. ¶ 13; ECF No. 3-12 ¶ 17.

             Lastly, as to FMCS, Congress outlined that it is “the duty of the Service, in

       order to prevent or minimize interruptions of the free flow of commerce growing out

       of labor disputes, to assist parties to labor disputes in industries affecting commerce

       to settle such disputes through conciliation and mediation.” 29 U.S.C. § 173(a).

       Further, Congress directed FMCS to “make its conciliation and mediation services

       available in the settlement of” grievance disputes arising “arising over the application

       or interpretation of an existing collective-bargaining agreement.” Id. § 173(d). Yet

       FMCS has ceased its grievance mediation services as of March 14, 2025. See ECF




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       No. 1-4 at 2 (“No new [Grievance Mediation (“GM”)] cases will be accepted. As of

       March 14, all GM cases should be complete.”). Further, with its substantial reduction

       of personnel from about 200 to fifteen, see ECF No. 3-42 ¶¶ 4-7, nothing suggests that

       FMCS’ remaining employees can continue to perform its statutory duties, see ECF

       No. 3-14 ¶ 11.

                                  ii.   Violations of Each Agency’s Appropriations Statute

                  The Constitution’s Appropriation Clause, U.S. Const. art. I, § 9, cl. 7, grants

       “Congress ‘exclusive power’ over federal spending.” Nat’l Council of Nonprofits v. Off.

       of Mgmt. & Budget, No. 25-239 (LLA), 2025 WL 368852, at *12 (D.D.C. Feb. 3, 2025)

       (quoting U.S. Dep’t of the Navy v. Fed. Lab. Rels. Auth., 665 F.3d 1339, 1346 (D.C.

       Cir. 2012)).     Without such exclusive power, “the [E]xecutive would possess an

       unbounded power over the public purse of the nation[ ] and might apply all its monied

       resources at his pleasure.” U.S. Dep’t of the Navy, 665 F.3d at 1347 (quoting 3 Joseph

       Story, Commentaries on the Constitution of the United States § 1342, at 213–14

       (1833)).

             By making laws, Congress has expressly restricted the Executive Branch from

       taking control of its appropriation powers. One such body of law is the Congressional

       Budget and Impoundment Control Act of 1974, 2 U.S.C. §§ 681 et seq., (“ICA”) which

       details the procedures the Executive must follow if it wishes to impound appropriated

       funds. For the permanent rescission of appropriated funds, Congress outlined that if

       the President “determines that all or part of any budget authority will not be required

       to carry out the full objectives or scope of programs for which it is provided or . . .




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       should be rescinded for fiscal policy of other reasons,” the President must “transmit

       to both Houses of Congress a special message” that specifies the amount, effect,

       reasons, and other information relating to the proposed rescission. 2 U.S.C. § 683(a).

       The act also requires the funds proposed for rescission “be made available for

       obligation” unless, within forty-five days, Congress rescinds the appropriation. Id.

       § 683(b). And if the President wishes to defer appropriated funds, the ICA also

       outlines that process, which also involves sending a special message to Congress. Id.

       §§ 684(a), 682(1). Accordingly, while “a President sometimes has policy reasons . . .

       for wanting to spend less than the full amount appropriated by Congress for a

       particular project or program . . . the President does not have unilateral authority to

       refuse to spend the funds. Instead, the President must propose the rescission of

       funds, and Congress then may decide whether to approve a rescission bill.” In re

       Aiken Cnty, 725 F.3d at 261 n.1; see also City & Cnty. of San Francisco v. Trump,

       897 F.3d 1225, 1235 (9th Cir. 2018) (“Absent congressional authorization, the

       Administration may not redistribute or withhold properly appropriated funds in

       order to effectuate its own policy goals.”).

              Congress appropriated funds to IMLS, MBDA, and FMCS at the same levels

       as the previous fiscal years. But the records show that these agencies are rescinding

       or deferring appropriated funds and do not plan to spend them. For instance, it

       appears that all—or nearly all—preexisting grants that IMLS and MBDA administer

       have been terminated, see ECF Nos. 45-1 ¶ 4; 35-3 ¶ 5, to carry out the Reduction EO

       and other of the President’s undefined policy goals. See ECF Nos. 45-2 at 4; 45-3 at 6,




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       7; 45-4 at 2; 45-5 at 2; 45-6 at 2; 45-7 at 2 (“MBDA has determined that your grant is

       unfortunately no longer consistent with the agency’s priorities . . . MBDA is

       repurposing its funding allocations . . . in furtherance of the President’s agenda.

       Independently and secondly, the President’s [Reduction EO] mandates that the

       MBDA eliminate all non-statutorily required activities and functions . . . Therefore,

       the MBDA hereby terminates your grant in its entirety . . .”); see also ECF Nos. 35-5

       at 10-11; 35-6 at 6-7; 35-8 at 5-20; 35-9 at 4-5 (same). As explained above, nothing

       suggests that the “skeleton” crew remaining at IMLS—which has only a small portion

       of personnel experienced with grant administration—will be able to administer

       disbursements of the millions of dollars in grant funds they are budgeted to award.

       See IMLS, FISCAL YEAR 2024 APPROPRIATIONS REQUEST TO THE UNITED STATES

       CONGRESS      4-6,   (Mar.    2023),    https://www.imls.gov/sites/default/files/2023-

       03/fy24cj.pdf (allocating over $250 million for grants and $20 million for

       administrative expenses). Nor is it clear how a crew of zero will be able to administer

       any of the grant funds MBDA is budgeted to award.           See MBDA, FISCAL YEAR

       2024                          CONGRESSIONAL                             JUSTIFICATION

       (Mar. 2023), https://www.commerce.gov/sites/default/files/2023-04/MBDA-FY2024-

       Congressional-Budget-Submission.pdf.

              As for FMCS, only fifteen employees remain and they must perform the work

       that over 200 employees previously performed. Thus, such a small group of personnel

       will expend only a fraction of what it would have otherwise spent to perform to its

       conciliation, arbitration, and mediation services with its previous staffing level. See




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       FMCS, FISCAL YEAR 2024 CONGRESSIONAL BUDGET SUBMISSION, AT 23 (Mar. 13, 2023),

       https://www.fmcs.gov/wp-content/uploads/2023/03/2024-Congressional-Budget.pdf

       ($42.3 million out of $55 million budget request allocated to mediations, training,

       outreach, and workshops).

             As the States point out, the Reduction EO orders OMB to “reject funding

       requests” for IMLS, MBDA, and FMCS “to the extent they are inconsistent” with the

       mandate for these agencies to “eliminate non-statutory components and functions”

       and “reduce the performance of their statutory functions and associated personnel.”

       90 Fed. Reg. 13043 (Mar. 14, 2025). Thus, the Reduction EO practically proscribes

       these agencies from increasing expenditures elsewhere to make up for these cuts in

       spending, considering its mandate to reduce these agencies’ functions and activities

       to the bare minimum. But Congress made clear that it wanted to appropriate funds

       to IMLS, MBDA, and FMCS so they may operate at the same level as the previous

       fiscal year. And the Executive does not have the “unilateral authority to refuse to

       spend the funds.” In re Aiken Cnty, 725 F.3d at 261 n.1. Thus, if the Executive does

       wish to rescind or defer funds appropriated to an agency, they are in luck, as the ICA

       sets forth clear procedures to facilitate that process under congressional oversight. 2

       U.S.C. §§ 681–688. But that process was not facilitated here. Rather, IMLS, MBDA,

       and FMCS took actions that essentially directed the rescission of funds to fulfill the

       President’s policy—with congressional authorization glaringly absent.

             The Court therefore finds that the States are likely to succeed in establishing

       that IMLS, MBDA, and FMCS violated the APA by acting “not in accordance” with




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       their respective statutory mandates and congressional appropriations acts when

       effectively absconding their statutory mandates by terminating core services and

       grant programs.

                    2. Separation of Powers and Take Care Clause Claims

             Under the Constitution, the President is required “take Care that the Laws be

       faithfully executed,” U.S. Const. art. II, § 3, “across the entire Executive Branch—

       including ‘independent’ agencies.” Eng. v. Trump, 279 F. Supp. 3d 307, 327 (D.D.C.

       2018) (citing Free Enter. Fund v. PCAOB, 561 U.S. 477, 496–97 (2010)).

       “And because federal agencies are ‘creatures of statute,’ and ‘the Take Care Clause

       cannot be used to bypass agencies’ limited status as creatures of statute, [they]

       possess only the authority that Congress has provided them.’” Widakuswara II, 2025

       WL 1166400, at *15 (quoting Marin Audubon Soc’y v. Fed. Aviation Admin., 121 F.4th

       902, 914 (D.C. Cir. 2024)).

             Here, IMLS, MBDA, and FMCS were created by Congress via statutes that

       granted each a comprehensive set of statutory responsibilities.         See Labor

       Management Relations Act, 1947, Pub. L. No. 80-101, § 202 (establishing FMCS);

       Museum and Library Services Act of 1996, Pub. L. 104-208, 110 Stat. 3009

       (establishing IMLS); and Minority Business Development Act of 2021, Infrastructure

       Investment and Jobs Act, Pub. L. 117-58, div. K (Nov. 15, 2021) (authorizing MBDA).

       And Congress, a mere day after the Reduction EO’s issuance, passed a statute that

       appropriated funds to these three agencies.    See Continuing Appropriations Act

       § 1101(a)(2), (8). But Defendants’ acts “[w]ithholding congressionally appropriated




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       funds, and effectively shuttering a congressionally created agency simply cannot be

       construed as following through on [the] constitutional mandate [of the Take Care

       Clause].” Widakuswara II, 2025 WL 1166400, at *15.

             Intertwined with the Take Care Clause claim, the States assert that the

       Defendants’ actions “violate[] the constitutional separation of powers.” ECF No. 3

       at 33. Article I of the Constitution grants to the legislative branch, the exclusive

       power to make law, U.S. Const. art. I, § 1, and the power of the purse, id. § 8, cl. 1.

       As for the Executive, “[t]here is no provision in the Constitution that authorizes the

       President to enact, to amend, or to repeal statutes.” Clinton v. City of New York, 524

       U.S. 417, 438 (1998).     By issuing the Reduction EO—which effectively directs

       withholding the funds that Congress recently statutorily appropriated to IMLS,

       MBDA, and FMCS, resulting in the cessation of several of their programs, see

       supra—the Executive is usurping Congress’s: (1) power of the purse, by disregarding

       congressional appropriations; and (2) vested legislative authority to create and

       abolish federal agencies. See Widakuswara I, 2025 WL 945869, at *7 (finding that

       the Executive usurped Congress’s power of the purse and “legislative supremacy” in

       violation of the Constitution’s implicit separation of powers principles when

       “withholding funds statutorily appropriated to full administer” a federal agency).

             Thus, the States have established a likelihood of success on their claims that

       the Defendants violated the Take Care Clause and constitutional separation of

       powers.




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             C. Irreparable Harm

             “District courts have broad discretion to evaluate the irreparability of alleged

       harm and to make determinations regarding the propriety of injunctive relief.” K–

       Mart Corp. v. Oriental Plaza, Inc., 875 F.2d 907, 915 (1st Cir. 1989) (quoting Wagner

       v. Taylor, 836 F.2d 566, 575–76 (D.C. Cir. 1987)). There are “relevant guideposts” to

       guide that discretion—“the plaintiff’s showing must possess some substance” and “the

       predicted harm and the likelihood of success on the merits must be juxtaposed and

       weighed in tandem.” Ross-Simons of Warwick, Inc. v. Baccarat, Inc., 102 F.3d 12, 19

       (1st Cir. 1996) (citations omitted). The Court finds that the States have demonstrated

       irreparable and continuing harm from the Defendants’ de facto dismantling of IMLS,

       MBDA, and FMCS.

             The States have presented a plethora of declarations illustrating the myriad of

       harms arising from the undoing of IMLS. The New Jersey Library “issued stop work

       orders” and will not be able to work on project developing tools to teach informational

       literacy to K-12 students due to terminated IMLS grant funding. ECF No. 35-6 ¶¶ 7-

       8. The New York State Library described that a delay in funding from IMLS will

       cause it to “immediately . . . halt services and implement a hiring freeze.” ECF No. 3-

       27 ¶ 29, 42. And the loss of data from IMLS’s Public Library Survey would “represent

       the loss of decades of information that is critical for community development and

       planning.” Id. ¶ 35. The California State Library will have to “stop statewide and

       local public library programs immediately and before they can be completed,” “deny

       payments for contracted services, and initiate layoffs if it does not receive IMLS




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       disbursements and reimbursements.” ECF No. 3-3 ¶ 10, 32. Loss of IMLS funding

       will also diminish or halt the California State Library’s programs “targeted to seniors,

       veterans and English learners” and services to the “blind and visually impaired.” Id.

       ¶ 31.    Maryland’s state-operated Banneker-Douglass-Tubman Museum delayed

       portions of an archaeological project because of the uncertainty surrounding IMLS

       funding. ECF No. 3-13 ¶¶ 9, 14.

               For Maryland’s Entrepreneurial Development and Assistance Center, the

       delay or loss in MBDA funding will halt: (1) “essential programs” such as

       “entrepreneurship education” and “one-on-one business guidance,” and (2) “access to

       resources like the content library for continued learning.” ECF No. 3-16 ¶ 12.

       Baltimore MBDA Advance Manufacturing Center—which provides comprehensive

       technical assistance to help minority manufacturing businesses adopt innovative

       technologies and business methodologies—will suffer “immediate service impacts”

       related to such technical assistance if there is a pause in MBDS funding. ECF No. 3-

       12 ¶¶ 9, 16.

               University of Wisconsin System Office of Business & Entrepreneurship will

       have to “cancel any upcoming training and accelerator services for participants

       already enrolled and expecting these services” due to termination of MBDA grant

       award. ECF Nos. 3-37 ¶ 23; 45-2 at 4. The University of Hawai‘i Maui College—

       which receives MBDA funding to provide entrepreneurship training to students—will

       have to eliminate “training courses, coaching and mentoring support services, and

       curriculum development” and will lose “three grant program staff” due to the




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       termination of their MBDA grant. ECF Nos. 3-11 ¶¶ 13, 20; 45-4 at 2. Arizona’s

       MBDA Business Center will close due to the termination of their MBDA grant and

       therefore will no longer provide pertinent services to Arizona businesses that aided

       in access to capital, access to markers, and market research. ECF No. 45-3 ¶¶ 1, 4.

       Further, the Center will have to terminate ten employees and release twenty

       contractors without notice. Id. ¶ 5.

             As to the FMCS, the Defendants do not dispute that the agency has completely

       stopped their public sector services. And it is undisputed that the States often rely

       on FMCS for their conciliation and mediation services to resolve public sector labor

       disputes. Such services are not easily replicable. To start, the use of FMCS’s services

       is embedded in some states’ laws, see, e.g., ECF No. 3-26 ¶ 6 (New Mexico), and forty-

       two states have collective bargaining agreements with specific provisions that either

       allow or mandate the use of FMCS’s services “in labor-management relations.” See

       ECF No. 3-39 ¶¶ 7-8. And States opt to request FMCS’s assistance because it is a

       well reputed, trustworthy, experienced neutral entity that is fluent in providing

       services that are “critical for resolving labor disputes” and “promot[ing] confidence in

       the decision-makers and the dispute resolution process.” ECF No. 3-14 ¶ 10; see ECF

       No. 3-26 ¶¶ 18, 22 (describing FMCS mediators as “exceedingly competent and well-

       trained” and noting that New Mexico will not be able to replace FMCS’s services “in

       the near or medium term”). FMCS’s mediation services have been critical in averting

       prolonged labor disputes which posed significant disruption to essential services such

       as transportation, healthcare, and child welfare. See ECF Nos. 3-30 ¶¶ 11-13; 3-32




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       ¶ 13.    And the record shows that circumscribing FMCS significantly reducing

       personnel and ceasing their core public sector and grievance programs has set the

       stage for ongoing and imminent harms.

               For example, the New Mexico Public Employee Labor Relations Board had

       eight pending cases at the time the Reduction EO was issued in which the parties

       “hoped to obtain FMCS mediation services” due to the lack of other services that not

       only could provide mediation for free or a reduced fee but also supply the specialized

       substantive knowledge on labor relations that FMCS mediators possessed. ECF

       No. 3-26 ¶¶ 21-22. Additionally, the Associated Federation of State County and

       Municipal Employees, AFL-CIO (“AFSCME”)—a private and public sector union that

       uses FMCS for handling grievances concerning the States’ public employees—

       attested to having multiple pending mediations in which the parties were using

       FMCS services. See ECF No. 3-39 ¶¶ 9, 20-22. But the abrupt layoff of FMCS

       personnel due to the Reduction EO, prompted “the immediate cessation of all FMCS

       assistance in the mediation of labor management dispute in the public and private

       sector.” Id. ¶ 23. Now, AFSCME unions representing public sector employees in the

       States must “find and utilize other more costly and time expansive method to resolve

       disputes,” and labor disputes that are “more likely to result in work disruptions” with

       this discernable path to mediation now gone. Id.

               In Illinois, a school district spent five months working with an FMCS mediator

       for a negotiation impasse in a labor dispute until those mediation services abruptly

       stopped after the issuance of the Reduction EO. ECF No. 3-26 ¶ 8.b n.1. Now, the




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       affected union has issued an intent to strike if the labor dispute is not resolved by

       early April, id., and it is unclear whether such disputes have been resolved. In Rhode

       Island, the United Nurses & Allied Professionals (UNAP) and Brown University

       Health was assigned a FMCS mediator after the parties reached a negotiation

       impasse relating to new collective bargaining agreements for about 2,5000 healthcare

       workers employed at the state’s only Level One Trauma Center—Rhode Island

       Hospital. ECF No. 44-2 ¶¶ 8-10. That assigned mediator appeared at the first

       session, but before the session began the mediator informed the parties that he was

       no longer able to mediate the parties’ negotiation because he was placed on

       administrative leave under the Reduction EO.        Id. ¶ 11.   The UNAP collective

       bargaining agreement with Brown University Health has now expired and the loss of

       FMCS’s mediation services has “dramatically increased the risk of an imminent work

       stoppage—with life-and-death consequences—at the busiest medical center in the

       region.” Id. ¶ 15.

             These are just a few key examples of how the implementation of the Reduction

       EO at IMLS, MBDA, and FMCS has disrupted numerous critical state library and

       museum services and programs, impeded the resolution of time-sensitive labor

       disputes involving State entities, and curtailed broad-ranging training, consultation,

       and technical assistance services and programs that facilitate the growth of minority

       business enterprises. Accordingly, the Court finds that the States have established

       a likelihood of success on their claims of irreparable harm arising from the

       Defendants’ actions here.




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                 D. Balance of the Equities and Public Interest

                 The final two preliminary injunction factors—balance of the equities and

       public interest—“merge when the Government is the opposing party.”             Nken v.

       Holder, 556 U.S. 418, 435 (2009). When weighing these factors, the Court “must

       balance the competing claims of injury and must consider the effect on each party of

       the granting or withholding of the requested relief ... pay[ing] particular regard for

       the public consequences” that would result from granting the emergency relief

       sought. Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 24 (2008) (quotation marks

       and citations omitted). Here, the two factors weigh strongly in favor of equitable

       relief.

                 The States have set forth a plethora of injuries that would arise if the Court

       does not grant injunctive relief. See supra Section III.C. On the flip side, the

       Defendants assert that granting the injunctive relief the States request would

       “effectively disable several federal agencies, as well as the President himself, from

       implementing the President’s priorities consistent with their legal authorities.” ECF

       No. 41 at 37.      They also assert harm from disbursing funds that “may not be

       retrievable afterwards.” Id. As the Court explained, the Defendants’ implementation

       of the Reduction EO has effectively usurped Congress’s lawmaking and spending

       authority—without constitutional or statutory authority permitting them to do so.

       And there is “generally no public interest in the perpetuation of unlawful agency

       action.” League of Women Voters v. Newby, 838 F.3d 1, 12 (D.C. Cir. 2016). Thus,

       the Court finds that “there is no competing harm to the government with the issuance




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       of preliminary relief that orders compliance with governing statutes and the

       Constitution.” Widakuswara II, 2025 WL 1166400, at *17. In fact, the “substantial”

       public interest lies “‘in having governmental agencies abide by the federal laws that

       govern their existence and operations.’” Newby, 838 F.3d at 12 (quoting Washington

       v. Reno, 35 F.3d 1093, 1103 (6th Cir. 1994)). Thus, the Court finds that these final

       two factors weigh in favor of granting a preliminary injunction.

             E. Bond

             Federal Rule of Civil Procedure 65(c) provides that a court may issue a

       preliminary injunction if “the movant gives security in an amount that the court

       considers proper to pay the costs and damages sustained by any party found to have

       been wrongfully enjoined or restrained.” But that rule “has been read to vest broad

       discretion in the district court to determine the appropriate amount of an injunction

       bond, including the discretion to require no bond at all.” Woonasquatucket River

       Watershed Council v. U.S. Dep’t of Agric., No. 1:25-CV-00097-MSM-PAS, 2025 WL

       1116157, at *24 (D.R.I. Apr. 15, 2025) (citations omitted). Generally, “[a] bond ‘is not

       necessary where requiring [one] would have the effect of denying the plaintiffs their

       right to judicial review of administrative action.’” Nat’l Council of Nonprofits v. Office

       of Mgmt. and Budget, No. 25-239 (LLA), 2025 WL 597959, at *19 (D.D.C. Feb. 25,

       2025) (quoting Nat. Res. Def. Council, Inc. v. Morton, 337 F. Supp. 167, 168 (D.D.C.

       1971)).

             Here, the Defendants request that the Court impose a bond against the States

       that is “commensurate with the scope of any such order.” ECF No. 41 at 37. The




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       Defendants assert that the States are seeking “the disbursement of grant funds” and

       thus the Court should order them to post a bond equal to the size of “any payment

       that the Court orders on a preliminary basis” because without such a bond, “there

       may be no way to recover the funds lost to United States taxpayers if the Court were

       later to find that the Defendants were ‘wrongfully enjoined.’” Id. But requiring the

       States to pay a bond equal to the grant disbursements at issue would impose a

       significant financial barrier to their ability to raise these challenges to the

       Defendants unlawful decisions withholding these grant disbursements. The States

       have attested that they would need to cut or terminate critical services and lay off

       staff because of such a loss of federal funding. See, supra Section III.C. Thus,

       requiring them to pay a bond in an amount equal to that loss of federal funding—via

       withheld grant disbursements—would impose the same imminent harm that this

       preliminary injunction aims to avoid and thus, would deny the States’ right to judicial

       review here. Nat’l Council of Nonprofits, No. 25-239 (LLA), 2025 WL 597959, at *19

       (D.D.C. Feb. 25, 2025).

             Nor has the Government shown that it would be unable to recover any funds

       disbursed because of the injunctive relief entered here. Such a claim is dubious

       considering that “the Government has various legal mechanisms to recoup these

       kinds of funds.” California, 145 S. Ct. at 974 (Jackson, J., dissenting); see, e.g., 2

       C.F.R. § 200.346; see also 2 C.F.R. § 3187.2 (indicating that “the Uniform

       Administrative Requirements, Cost Principles, and Audit Requirements for Federal




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       Awards set forth in 2 CFR part 200 shall apply to awards from funds appropriated to

       [IMLS].”). Accordingly, the Court declines to impose a bond against the States.

       IV.   PRELIMINARY INJUNCTION5

             For all these reasons, the Court finds based on the record evidence before it

       that a preliminary injunction is appropriate and necessary. The States shall prepare

       and submit to the Court a preliminary injunction form order, after consultation with

       the Defendants.

             Additionally, because of the finding of likelihood of success by the States and

       the large-scale irreparable harm that would occur without the preliminary injunction,

       the Court DENIES the Defendants’ request to stay this Order for seven days. See

       ECF No. 41 at 38.



       IT IS SO ORDERED.



       /s/ John J. McConnell, Jr.
       John J. McConnell, Jr.
       Chief Judge
       United States District Court

       May 6, 2025




             5  This Order binds Defendants’ officers, agents, employees, attorneys, and
       other persons who are in active concert or participation with anyone described in Rule
       65(d)(2)(A) or (B). Fed. R. Civ. P. 65(d)(2).

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